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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    MARVA LEWIS,                                         Case No.: 3:21-cv-01385-JAH-BGS
12                                        Plaintiff,
                                                           ORDER:
13    v.
                                                           (1) GRANTING IN PART AND
14    CORECIVIC OF TENNESSEE, LLC, a                       DENYING IN PART PLAINTIFF’S
15    Tennessee limited liability company                  MOTION FOR PARTIAL
      doing business in the state of California;           SUMMARY JUDGMENT, (ECF No.
16    CORECIVIC, LLC, a Delaware limited                   40);
17    liability company doing business in the
      state of California; CORECIVIC, INC., a              (2) GRANTING IN PART AND
18    Maryland corporation doing business in               DENYING IN PART DEFENDANTS’
19    the state of California; and DOES 1- 20,             MOTION FOR SUMMARY
      inclusive,                                           JUDGMENT, (ECF No. 41).
20
                                    Defendants.
21
22                                   I.       INTRODUCTION
23          Pending before the Court is Plaintiff Marva Lewis’ (“Lewis” or “Plaintiff”) Motion
24    for Partial Summary Judgment, (“Pl.’s MSJ,” ECF No. 40-1), and Defendants CoreCivic
25    of Tennessee, LLC, CoreCivic, LLC, and CoreCivic, Inc. (collectively, “Defendants” or
26    “CoreCivic”) Motion for Summary Judgment, (“Defs.’ MSJ,” ECF No. 41-1). Also before
27    the Court are Plaintiff’s response in opposition to Defendants’ Motion for Summary
28    Judgment (“Pl.’s MSJ Opp’n,” ECF No. 53); Defendants’ response in opposition to

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 1    Plaintiff’s Motion for Partial Summary Judgment (“Defs.’ MSJ Opp’n,” ECF No. 44);
 2    Plaintiff’s reply in support of her Motion for Partial Summary Judgment (“Pl.’s MSJ
 3    Reply,” ECF No. 45); and Defendants’ reply in support of their Motion for Summary
 4    Judgment (“Defs.’ MSJ Reply,” ECF No. 54). The motions are decided without oral
 5    argument pursuant to Civil Local Rule 7.1.d.1. Having considered the Parties’ arguments
 6    and the relevant law, and for the reasons set forth below, the Court GRANTS IN PART
 7    AND DENIES IN PART Plaintiff’s Motion for Partial Summary Judgment, and
 8    GRANTS IN PART AND DENIES IN PART Defendants’ Motion for Summary
 9    Judgment.
10                                    II.    BACKGROUND
11          Defendants are owners of for-profit prison facilities in the United States, including
12    three facilities in San Diego County: Boston Avenue, Oceanview, and Otay Mesa. (Pl.’s
13    MSJ at 7 1). On September 5, 2016, Plaintiff began work as a Treatment Counselor at the
14    Boston Avenue facility on an at-will basis, where she counseled incarcerated persons
15    suffering from substance abuse. (Declaration of Marva Lewis in Support of Pl.’s MSJ,
16    “Lewis Decl.,” ECF No. 40-3 at ¶ 2; Defs.’ MSJ at 10). In the spring of 2019, Plaintiff
17    began to suffer from severe depression and anxiety, resulting in her requesting medical
18    leave from the Human Resources Manager of the Boston Avenue facility, Sherri Lashlee.
19    (Lewis Decl. at ¶¶ 3-4; Defs.’ MSJ at 11). Lashlee provided Plaintiff with forms for
20    medical leave under the Family Medical Leave Act on April 24, 2019, including forms
21    titled, “Designation Notice (FMLA)” and “Notice of Eligibility and Rights &
22    Responsibilities (FMLA),” amongst others. (Lewis Decl. at ¶ 4; Declaration of Sherrie
23    Lashlee in Support of Defs.’ MSJ, “Lashlee Decl.,” ECF No. 41-3 at 636, ¶ 3). According
24    to Plaintiff, she spoke on the phone to Lashlee who informed her that Plaintiff’s leave of
25    absence would be treated as a Worker’s Compensation (“WC”) claim, as opposed to leave
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            Unless otherwise stated, page numbers referenced herein refer to page numbers
28    generated by the CM/ECF system.
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 1    under the FMLA. (Lewis Decl. at ¶ 5). Plaintiff further claims Lashlee told her to “throw
 2    away the FMLA paperwork” and that “all requisite medical documentation … would be
 3    provided directly to [Lashlee] by the treating WC doctors.” (Id.) In addition, Lashlee
 4    testified she told Plaintiff not to submit the form designated for a personal physician
 5    because the doctor for Plaintiff’s concurrent WC claim would fill it out. (Declaration of
 6    Zachary S. Schumacher in Support of Pl.’s MSJ, “Schumacher Decl.,” ¶ 20, Ex. 1, ECF
 7    No. 40-2 (Lashlee Depo.), 49:15-50:132; Lewis Decl. at ¶ 5). Then, on April 29, Plaintiff
 8    submitted a “Request for Leave (FMLA)” form to Lashlee. (Lashlee Decl., ¶ 4, Ex. II-D,
 9    ECF No. 41- 3 at 684). However, in a letter dated April 24, 2019, Plaintiff’s FMLA leave
10    request was approved via a Designation Notice based upon “[her] own serious health
11    condition.” (Schumacher Decl., ¶ 11, Ex. 10, ECF No. 40-2 at 177-78).
12            CorVel is a third-party administrator Defendants hired to manage their WC claims.
13    (Declaration of Michael Diamond in Support of Pl.’s MSJ, “Diamond Decl.,” ECF No. 40-
14    5 at ¶ 6; Defs.’ MSJ Opp’n at 7). On May 2, 2019, Plaintiff received a letter from CorVel
15    stating that it represented Defendants and would be handling her WC claim “on behalf of
16    CoreCivic CAI.” (Lewis Decl. at ¶ 8, Ex. 13, ECF No. 40-2 at 184-86). Plaintiff thereafter
17    retained an attorney, Michael Diamond, to represent her interest in the WC matter. (Id. at
18    ¶ 7).
19            On approximately May 15, 2019, Defendants began sending Plaintiff a series of
20    letters regarding her FMLA leave status. (Lewis Decl. at ¶ 9; Lashlee Decl. at ¶ 5). The
21    first of the series dated May 15, was from Lashlee to Plaintiff acknowledging receipt of
22    Plaintiff’s request for leave and asking that Plaintiff provide a “completed health care
23    provider form.” (Lashlee Decl. at ¶ 5, Ex. II-E, ECF No. 41-3 at 686). After failing to
24    receive the requested form, Lashlee sent a second letter to Plaintiff on May 28, 2019,
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            Page numbers in citations to depositions are those appearing on the face of the
28    deposition transcript.
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 1    reiterating her request for a completed health care provider form. (Id. at ¶ 6, Ex. II-F, ECF
 2    No. 41-3 at 688).
 3          Plaintiff claims the letters confused her “because, when HR informed [her] that [her]
 4    leave would be treated as a WC claim, they also instructed [her] to disregard any
 5    correspondence related to FMLA.” (Lewis Decl. at ¶ 9). Plaintiff states Lashlee had
 6    initially explained “[Plaintiff] would likely continue to receive FMLA notifications
 7    because HR had originally entered [her] leave into their ‘system’ as FMLA, which
 8    triggered a series of automatic mailings under FMLA protocol.” (Id.) However, Plaintiff
 9    understood Lashlee to mean “[Plaintiff] did not need to respond to Defendant’s letters
10    about anything pertaining to FMLA, because her claim was being handled between
11    Defendant and the WC doctors.” (Id.) With this understanding, Plaintiff explains she
12    addressed the issue of her continued receipt of FMLA letters with HR during her bi-weekly
13    visits to provide health insurance payments. (Id. at ¶ 10). Plaintiff describes she was
14    initially told not to worry about the letters, but, over time, HR could not explain whether
15    the letters “required [her] attention or not.” (Id.) Plaintiff contends she consistently
16    expressed to HR that she was confused about the FMLA paperwork. (Id. at 11). In
17    response to one such voicemail Plaintiff left for Lashlee, Lashlee sent Plaintiff a letter
18    stating, in part: “You cannot decline to take FMLA leave if the leave qualifies. As such,
19    your time off since April 23, 2019, will be counted as FMLA leave.” (Lashlee Decl. at ¶
20    7). On July 26, 2019, Lashlee sent Plaintiff another letter, which informed Plaintiff that
21    “[her] 12-weeks FMLA leave expired on July 15, 2019[,]” and that if she needed more
22    time, “[she] may be eligible for non-FMLA medical leave, under which [she] could receive
23    additional time that would be unpaid.” (Lashlee Decl. at ¶ 8).
24          During these ongoing communications between Plaintiff and Defendants’ HR
25    department, Plaintiff visited her treating physician, Dr. Heywood Zeidman on June 21,
26    2019, who certified that she would not be expected to return to work before October 21,
27    2019 due to her medical condition. (Lewis Decl. at ¶ 12; Lashlee Decl. at ¶ 11, Ex. II-L,
28    ECF No. 41-3 at 710). Plaintiff understood that Dr. Zeidman would deliver the medical

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 1    note to Defendants. (Lewis Decl. at ¶ 12). However, Defendants claim it was not until
 2    August 5, 2019, that Plaintiff provided them with the medical note from Dr. Zeidman.
 3    (Lashlee Decl. at ¶ 11). Also on August 5, 2019, Plaintiff provided Defendants with a
 4    written request for non-FMLA leave, attaching a “Certification of Health Care Provider
 5    (Non-FMLA)” form, only the first page of which was completed out of seven pages.
 6    (Lashlee Decl. at ¶ 10, Exs. J, K, ECF No. 41-3 at 700, 702-08).
 7          On September 12, 2019, Plaintiff was evaluated by Dr. Robert Zink, a clinical
 8    psychologist, as part of an Agreed Medical Evaluation (“AME”) related to the ongoing
 9    WC claim. (Lewis Decl. at ¶ 13; Schumacher Decl., ¶ 20, Ex. 19 (AME Report), ECF No.
10    40- 2 at 209-13). That report made two pertinent statements pertaining to the duration of
11    Plaintiff’s medical leave. First, Dr. Zink stated: “I expect that period of [Temporarily
12    Totally Disabled] to last at least another 6 to 8 weeks.” (AME Report at 210). Second,
13    Dr. Zink opined, “Ms. Lewis requires additional psychotherapy … for at least the next 2 to
14    3 months, hopefully during which time she can further recover.” (Id. at 211). A declaration
15    of service shows the AME Report was served on Michael Anaple 3, Michael Diamond 4, and
16    Stacy Bickler5 on October 8, 2019. (Id. at 213). Defendants contend Lashlee never
17    received the report and CorVel did not receive it until after November 12, 2019. (Defs.’
18    MSJ Opp’n at 14). Likewise, while Bickler states that he was served with the AME report,
19    he did not personally provide it to Defendants, nor is he aware of anyone in his office who
20    did. (Bickler Decl. at ¶ 3).
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23    3
            Michael Anaple is a representative of CorVel, Defendants’ third-party administrator
      to handle WC claims. (Declaration of Paul Gleason In Support of Defs.’ MSJ Opp’n,
24    “Gleason Decl.,” ¶ 4, Ex. 1-C (Deposition of Andrea Cooper, “Cooper Depo.”), ECF No.
25    44-1 at 571, 36:10-12).
      4
            Michael Diamond is an attorney retained by Plaintiff to represent her in her WC case.
26    (Lewis Decl. at ¶ 7).
27    5
            Stacy Bickler is an attorney hired by Defendants to represent them in Plaintiff’s WC
      case. (Declaration of Stacy Bickler In Support of Defs.’ MSJ Opp’n, “Bickler Decl.,” ¶¶ 1-
28    2, ECF No. 44-1 at 900).
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 1           On September 30, 2019, Lashlee sent Plaintiff another letter, which informed her
 2    that her FMLA leave expired on July 15, 2019, and her non-FMLA leave would expire on
 3    October 21, 2019. (Lashlee Decl. at ¶ 12, Ex. II-M, ECF No. 41-3 at 712). Plaintiff
 4    responded to this letter with a voicemail on October 6, 2019, stating her belief that she was
 5    not on FMLA leave but rather on WC leave, and the letters she received were incorrect and
 6    not applicable. (Lashlee Decl. at ¶ 13). Lashlee addressed the voicemail in a letter on
 7    October 17, 2019, in which she explained:
 8                This is a follow up letter to my correspondence to you of September
                  30, 2019, and your voice message on October 6, 2019. As stated earlier,
 9
                  your maximum leave under CoreCivic policy will expire on October
10                21, 2019. This will completely exhaust your authorized 26 weeks of
                  leave. Your FMLA and non-FMLA run concurrently with any time for
11
                  which you may receive compensation under workers’ compensation,
12                and whether you receive pay through workers’ compensation does not
                  affect the dates of your FMLA and non-FMLA leave. Accordingly, we
13
                  expect you to return to work on October 21, 2019. You will need to
14                bring fitness for duty documentation from your health care provider,
                  with or without any applicable restrictions and accommodation needs.
15
16    (Lashlee Decl. at ¶ 14, Ex. II-N, ECF No. 41-3 at 715). The letter further stated, “This is
17    to request once more that you contact me immediately if you are unable to return to your
18    duties for any reason.” (Id.) Lashlee sent one final notice to Plaintiff on October 22, 2019,
19    informing her that it was “critically important” to contact HR within ten days to arrange
20    for Plaintiff’s return to work or inform them of her current medical status. (Id. at ¶ 15, Ex.
21    II-O, ECF No. 41-3 at 718). That letter also explained that, if Plaintiff did not respond
22    within ten days, Defendants would assume she did not intend to return to work and
23    terminate her employment. (Id.) On November 4, 2019, Plaintiff was informed of her
24    termination via letter, along with information regarding unemployment benefits and
25    picking up her belongings. (Id. at ¶ 16, Ex. II-P, ECF No. 41-3 at 721; Lewis Decl. at ¶
26    14). The letter stated: “Since we have not heard from you, we must assume that you do
27    not intend to return to work.” (Lashlee Decl., Ex. II-P, ECF No. 41-3 at 721; Lewis Decl.
28    at ¶ 14).

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 1          Plaintiff filed this action on August 2, 2021. (See “Compl.”, ECF No. 1). Following
 2    the Court granting in part and denying in part Defendants’ motion to dismiss, the surviving
 3    claims—and the subject matter of the instant motion—are: (1) Interference in Violation of
 4    the FMLA; (2) Interference in Violation of the CFRA; (3) Retaliation in Violation of the
 5    CFRA; (4) Disability Discrimination in Violation of the FEHA; (5) Failure to Provide
 6    Reasonable Accommodation in Violation of the FEHA; (6) Failure to Engage in the
 7    Interactive Process in Violation of the FEHA; (7) Failure to Prevent Unlawful
 8    Discrimination/Retaliation; (8) Wrongful Termination in Violation of Public Policy; and
 9    (12) Violation of California Business and Professions Codes Section 17200 et seq.
10                                    III.   LEGAL STANDARD
11          Federal Rule of Civil Procedure 56 empowers courts to enter summary judgment on
12    claims or defenses that lack a factual foundation. Rule 56(a) limits summary judgment to
13    cases where “there is no genuine dispute as to any material fact and the movant is entitled
14    to judgment as a matter of law.” Fed. R. Civ. Pro. 56(a). The moving party carries the
15    burden of demonstrating the absence of a genuine issue of material fact. Celotex Corp. v.
16    Catrett, 477 U.S. 317, 323 (1986); C.A.R. Transp. Brokerage Co., Inc. v. Darden Rest.,
17    Inc., 213 F.3d 474, 480 (9th Cir. 2000). An issue is “genuine” only if there exists sufficient
18    evidence for a reasonable trier of fact to find for the nonmoving party. Anderson v. Liberty
19    Lobby, Inc., 477 U.S. 242, 248 (1986).
20               If a moving party fails to carry its initial burden of production, the
                 nonmoving party has no obligation to produce anything . . .. In such a
21
                 case, the nonmoving party may defeat the motion for summary
22               judgment without producing anything.
23    Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Co., Inc., 210 F.3d 1099, 1102-03 (9th Cir.
24    2000); see also Horphag Research. Ltd. v. Garcia, 475 F.3d 1029, 1035 (9th Cir. 2007)
25    (“The moving party bears the initial burden to demonstrate the absence of any genuine
26    issue of material fact.”). It is only when the record, taken as a whole, could not lead a
27    rational trier of fact to find for the nonmoving party that there is “no geuine issue for trial.”
28    Matsushita Elec. Indus. Co. v. Zenith Radio Crop., 475 U.S. 574, 587 (1986) (quoting First

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 1    Nat. Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 289 (1968)). However, if “a moving
 2    party carries its burden of production, the nonmoving party must produce evidence to
 3    support its claim or defense.” Id. at 1103. Then, the opposing party must “go beyond the
 4    pleadings and by [its] own affidavits, or by the ‘depositions, answers to interrogatories,
 5    and admissions on file’ designate ‘specific facts showing that there is a genuine issue for
 6    trial.’ ” Celotex Corp., 477 U.S. at 324 (citing Fed. R. Civ. P 56(e)).
 7          It has long been held that “[t]he court must examine the evidence in the light most
 8    favorable to the non-moving party.” United States v. Diebold, Inc., 396 U.S. 654 (1962).
 9    Summary judgment should be denied if any issue of material fact exists. Anderson, 477
10    U.S. at 255. It is not the role of the court to weigh evidence, determine credibility, and
11    draw inferences from facts. Id. at 155. “[W]hen parties submit cross-motions for summary
12    judgment, each motion must be considered on its merits.” Fair Hous. Council of Riverside
13    Cnty, Inc. v. Riverside Two, 249 F.3d 1132, 1136 (9th Cir. 2001) (internal citations and
14    quotation marks omitted). Moreover, “when simultaneous cross-motions for summary
15    judgment on the same claim are before the court, the court must consider the appropriate
16    evidentiary material identified and submitted in support of both motions, and in opposition
17    to both motions, before ruling on each of them.” Id. at 1134.
18                                       IV.   DISCUSSION
19    A.    Evidentiary Objections
20          On a motion for summary judgment, “[a] party may object that the material cited to
21    support or dispute a fact cannot be presented in a form that would be admissible in
22    evidence.” Fed. R. Civ. P. 56(c)(2). An “objection functions much as an objection at trial,
23    adjusted for the pretrial setting. The burden is on the proponent to show that the material
24    is admissible as presented or to explain the admissible form that is anticipated.” See
25    Advisory Committee’s Notes on 2010 Amendment to Fed. R. Civ. P. 56. At the summary
26    judgment stage, the court may consider inadmissible evidence if it may be presented in an
27    admissible form at trial. See Celotex Corp., 477 U.S. at 324 (“We do not mean that the
28    nonmoving party must produce evidence in a form that would be admissible at trial in order

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 1    to avoid summary judgment.”); Fraser v. Goodale, 342 F.3d 1032, 1036-37 (9th Cir. 2003)
 2    (holding the contents of the plaintiff’s diary admissible for purposes of summary judgment
 3    because the contents would be admissible at trial through the plaintiff’s personal
 4    knowledge). At the summary judgment stage, the court focuses on the admissibility of the
 5    evidence’s contents, not its form. Sandoval v. Cnty. of San Diego, 985 F.3d 657, 666 (9th
 6    Cir. 2021).
 7          Additionally, not all objections that would be proper at trial are proper during the
 8    summary judgment stage.        For example, relevance and improper legal conclusion
 9    objections are moot and duplicative of the summary judgment standard. See Sandoval, 985
10    F.3d at 665; Sec. & Exch. Comm’n v. Criterion Wealth Mgmt. Servs., Inc., 599 F.Supp.3d
11    932, 945 (C.D. Cal. 2022); McCarthy v. R.J. Reynolds Tobacco Co., No.
12    CIV2092495WBSDAD, 2011 WL 13405571, at *1 (E.D. Cal. Mar. 31, 2011) (holding
13    relevance, improper legal conclusion, speculation, and argumentative objections are
14    duplicative of the summary judgment standard and, therefore, improper); Holt v. Noble
15    House Hotels & Resort, Ltd., 370 F.Supp.3d 1158, 1164 (S.D. Cal. 2019). A district court
16    “must also rule on evidentiary objections that are material to its ruling.” Norse v. City of
17    Santa Cruz, 629 F.3d 966, 973 (9th Cir. 2010).
18          Due to the volume of evidentiary objections, the Court addresses the objections
19    categorically, where appropriate.
20          1. Defendants’ Evidentiary Objections 1-6 to Plaintiff’s Motion for Summary
               Judgment
21
22          Defendants objections 1 through 6 refer to portions of various depositions, which
23    Defendants argue Plaintiff failed to properly authenticate by failing to attach the signed
24    certificates of the court reporters.6 (“Defs.’ Evidentiary Objs.”, ECF No. 44-2 at 2-8). In
25
26
27    6
            Defendants also object to Schumacher’s declaration, which attempts to authenticate
      those depositions, “[t]o the extent [he] attempts to introduce testimony as to the contents of
28    deposition exhibits or any other document without producing those documents” according
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 1    response, Plaintiff explains the certificates were omitted “in the interest of brevity and in
 2    relieving all parties – and the Court – of unnecessary paperwork.” (“Pl.’s Resp. to Objs.,”
 3    ECF No. 46 at 2). Plaintiff offers “to produce at the hearing all court reporters’ certificates
 4    in support of the deposition testimony cited in Plaintiff’s moving papers.” (Id.) The Court
 5    notes that Defendants include portions from every deposition they object to in their own
 6    motion. (See “App’x of Evid. ISO Defs.’ Opp’n to MSJ,” ECF No. 44-1 at 1-6).
 7          At the summary judgment stage, evidence need not be in admissible form for trial,
 8    it need only be capable of being presented in an admissible form. See Celotex Corp., 477
 9    U.S. at 324. Therefore, due to Plaintiff’s offer to present the certifications and Defendants’
10    reliance upon the same depositions, the Court finds the foundational issues presented with
11    these depositions could be cured at trial. Accordingly, Defendants’ evidentiary objections
12    1 through 6 are overruled.7
13          2. Defendants’ Evidentiary Objection 7 to Plaintiff’s Motion for Summary
               Judgment
14
15          Defendants object and move to strike ¶ 18 of Schumacher’s Declaration which
16    authenticates the AME report. (Defs.’ Evidentiary Objs. at 8). Defendants argue Plaintiff
17    failed to disclose the AME report in her initial disclosures pursuant to Federal Rule of Civil
18
19
20    to the best evidence rule. (Defs.’ Evidentiary Objs. at 1-8). The Court finds Schumacher’s
21    declarations make no such attempt and Defendants repeated, boilerplate objections are
      overruled on those grounds.
22    7
             Defendants rely on Orr v. Bank of Am., NT & SA, 285 F.3d 764 (9th Cir. 2002), for
23    its argument that Plaintiff is required to produce signed certificates of court reporters to
      authenticate depositions. (Defs.’ Evidentiary Objs. at 2-8). However, in Orr, the Ninth
24    Circuit explains that “a district court’s admission of unauthenticated evidence in a
25    summary judgment motion is harmless error when the same item of evidence has been
      authenticated by an opposing party.” 285 F.3d at 776 (citing Cristobal v. Siegel, 26 F.3d
26    1488, 1494 (9th Cir. 1994)). Consistent with Orr, because Defendants use the same
27    depositions they object to in their own motion, (see App’x of Evid. ISO Defendant’s Opp’n
      to MSJ, ECF No. 44-1 at 2-6), with the signed court reporter certificates attached, this
28    argument is unpersuasive.
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 1    Procedure 26, and the Court should therefore exclude the report under Rule 37. (Id. at 8-
 2    9). Defendants raise these additional bases for their objection: failure to authenticate,
 3    relevance, cumulative, and completeness.        (Id. at 9). Plaintiff opposes Defendants’
 4    objections, claiming that because the AME report was disclosed in Plaintiff’s responses to
 5    Defendants’ interrogatories, Defendants cannot claim surprise or prejudice. (Pl.’s Resp. to
 6    Objs. at 2-3).
 7                 i.     Exclusion under FRCP 37(c)(1)
 8          Rule 26 holds that “a party must, without awaiting a discovery request, provide to
 9    the other parties: (i) the name and, if known, the address and telephone number of each
10    individual likely to have discoverable information—along with the subjects of that
11    information—that the disclosing party may use to support its claims or defense, unless the
12    use would be solely for impeachment[.]” Fed. R. Civ. P. 26(a)(1)(A). Furthermore, the
13    party must supplement or correct its disclosure in a timely manner if it learns the initial
14    disclosure was incorrect or incomplete.       Rule 26(e)(1).     If a party fails to provide
15    information or identify a witness under Rule 26(a) or (e), the party “is not allowed to use
16    that information or witness to supply evidence on a motion, … unless the failure was
17    substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). The noncompliant party
18    bears the burden of showing a lesser sanction is better under the circumstances, and that
19    party must “ ‘avail himself of the opportunity to seek a lesser sanction’ by formally
20    requesting one from the district court.” Merch. v. Corizon Health, Inc., 993 F.3d 733, 741
21    (9th Cir. 2021) (quoting Vanderberg v. Petco Animal Supplies Stores, Inc., 906 F.3d 698,
22    705 (8th Cir. 2021)).
23          A district court has “wide discretion” regarding discovery, and that discretion is
24    “particularly wide” when a party moves for exclusion under Rule 37(c)(1). Ollier v.
25    Sweetwater Union High Sch. Dist., 768 F.3d 843, 862 (9th Cir. 2014). The Ninth Circuit
26    has held that evidentiary exclusions are a harsh sanction, particularly when the exclusion
27    is fatal to a claim. R & R Sails, Inc. v. Ins. Co. of Pa., 673 F.3d 1240, 1247 (9th Cir. 2012).
28    Therefore, when engaged in the harmlessness inquiry under Rule 37(c)(1), the court is

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 1    required to consider “whether the claimed noncompliance involved willfulness, fault, or
 2    bad faith” and “the availability of lesser sanctions.” Id. In deciding whether to exclude
 3    evidence under Rule 37, “district courts have identified several factors to guide the
 4    determination of whether substantial justification and harmlessness exist, including (1)
 5    prejudice or surprise to the party against whom the evidence is offered; (2) the ability of
 6    that party to cure the prejudice; (3) the likelihood of disruption of trial; and (4) bad faith or
 7    willfulness in not timely disclosing the evidence.” Liberty Ins. Corp. v. Brodeur, 41 F.4th
 8    1185, 1192 (9th Cir. 2022) (internal citations, quotations, and alterations omitted).
 9          Defendants argue Plaintiff failed to include the AME report in her initial disclosures
10    in violation of Rule 26, and accordingly, Defendants ask for the report to be excluded under
11    Rule 37. Defendants claim Plaintiff’s failure “has deprived [them] of the opportunity to
12    conduct discovery in connection with that AME report.” (Defs.' Evidentiary Objs. at 8).
13    Plaintiff rebuts that the AME report was disclosed in her response to Defendants’
14    interrogatories Numbers 2 and 13. (Pl.'s Resp. to Objs. at 2-3). Additionally, Plaintiff
15    points to deposition testimony that demonstrates Defendants were aware of the AME
16    report. (See Declaration of Paul Gleason In Support of Defs.’ MSJ Opp’n, “Gleason
17    Decl.”, ¶ 2, Ex. I-A (Lewis Depo.), ECF No. 44-1 at 215:11-216:10). The AME report is
18    also vital to Plaintiff’s case, as it is Plaintiff’s only physical evidence that supports the
19    claim that Defendants had knowledge of her need for additional medical leave beyond
20    October 21, 2019. (See Pl.’s MSJ at 12-13).
21          It strains credulity to state that Defendants were surprised by the AME report,
22    because it was disclosed in Plaintiff’s responses to interrogatories, and Defendants had the
23    opportunity to question Plaintiff about the report in her deposition nearly six months before
24    bringing their objection. Additionally, the report is vital to Plaintiff’s case and Defendants
25    have failed to offer any explanation as to how Plaintiff’s failure to disclose was done out
26    of willfulness, fault, or bad faith. For the foregoing reasons the Court finds, any violation
27    of Rule 26 by failing to include the AME report in Plaintiff’s initial disclosures was
28    harmless and not subject to Rule 37(c)(1) sanctions.

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 1                 ii.    Failure to authenticate, relevance, cumulative, and completeness
 2          Defendants also claim the AME report was not properly authenticated by
 3    Schumacher, as he “does not represent that it is a true and correct copy” or that “he has any
 4    personal knowledge” of the contents of the reports. (Defs.’ Evidentiary Objs. at 9).
 5    However, the AME report is also authenticated by Diamond’s declaration, and Diamond
 6    was served with the AME report on October 8, 2019. (Diamond Decl. at ¶ 11). Notably,
 7    Defendants do not contest the AME report as authenticated by Diamond. Nonetheless, at
 8    the summary judgment stage, the court focuses not on the admissibility of the evidence's
 9    form but on the admissibility of its contents. Block v. City of Los Angeles, 253 F.3d 410,
10    418–19 (9th Cir. 2001). Even if the report could not be authenticated by Schumacher, the
11    documents could be made admissible at trial by authentication, or their contents could be
12    admitted through witness testimony.
13          Defendants further object to the AME report as cumulative and on the basis of
14    relevance, arguing it “is of no relevance, as it is undisputed that Plaintiff never provided it
15    to CoreCivic and does not state whether Plaintiff ever intended to work, her need for any
16    specific accommodations, or her job restrictions.” (Defs.’ Evidentiary Objs. at 9).           A
17    central question in this case is whether Defendants were aware of Plaintiff’s ongoing
18    temporarily permanently disabled status at the time of her termination. The AME report,
19    which was indisputably sent to Defendants’ third-party administrator and attorney is
20    evidence that Plaintiff was not ready to return to work at the time of her termination.
21    Defendants’ objections on these bases fail.
22          Last, Defendants object to the AME report because Plaintiff has failed to submit a
23    complete copy of the report. Federal Rule of Evidence (“FRE”) 106 states: “If a party
24    introduces all or part of a writing or recorded statement, an adverse party may require the
25    introduction, at that time, of any other part – or any other writing or recorded statement –
26    that in fairness ought to be considered at the same time.” Fed. R. Evid. 106. “[T]he rule
27    of completeness is designed to prevent the distortion that inevitably results when only one
28    portion of a document is admitted into evidence. See United States v. Callicott, 92 F.3d

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 1    973, 982-83 (9th Cir. 1996). However, FRE 106 does not require the original submission
 2    of a document to be complete; rather, it allows the other party to demand it be made
 3    complete. See United States v. Avenatti, 559 F.Supp.3d 274, 281 (S.D.N.Y. 2021) (“[the
 4    rule of completeness] provides that a court should permit the introduction of certain
 5    writings or statements ‘that in fairness ought to be considered’ when other writings or
 6    statements are offered; it does not call for exclusion of the writings or statements that are
 7    offered in the first instance.”). Therefore, Plaintiff is not necessarily required to submit the
 8    AME report in its entirety absent a request from Defendants. Accordingly, for the above
 9    reasons, Defendants’ objection is overruled.
10          3. Defendants’ Evidentiary Objections 8-9 to Plaintiff’s Motion for Summary
               Judgment
11
12          Plaintiff requests judicial notice of two civil complaints, both involving CoreCivic
13    as a party. (ECF No. 40-6). Defendants’ objections 8 and 9 are in reference to those
14    complaints, which are attached as exhibits to Schumacher’s declaration, arguing
15    Schumacher lacks personal knowledge, the complaints lack relevance, the complaints are
16    hearsay, and the complaints are not judicially noticeable.8 (Defs.’ Evidentiary Objs. at 9-
17    11). Plaintiff contends personal knowledge and hearsay are inapplicable to a matter of
18    judicial notice. Plaintiff further argues the cases are relevant because they involve similar
19    claims from similar parties occurring at the same facility. (Pl.’s Resp. to Objections at 3).
20          Courts may take judicial notice of facts that are generally known within the territorial
21    jurisdiction of the trial court, or that “can be accurately and readily determined from
22    sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). While
23    the complaints themselves are judicially noticeable, Plaintiff is not asking the Court to take
24    judicial notice of the existence of the complaints but to the content of the complaints in
25    order to draw parallels and establish a pattern of conduct. (Pl.’s Resp. to Objs. at 3).
26
27
      8
             Defendants expand on their opposition to judicial notice in their Objections to
28    Plaintiff’s Request for Judicial Notice. (See ECF No. 44-3).
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 1    Plaintiff’s request is not proper. See Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988,
 2    999 (9th Cir. 2018) (“Just because the document itself is susceptible to judicial notice does
 3    not mean that every assertion of fact within that document is judicially noticeable for its
 4    truth.”); M/V Am. Queen v. San Diego Marine Const. Corp., 708 F.2d 1483, 1491 (9th Cir.
 5    1983) (“a court may not take judicial notice of proceedings or records in another cause as
 6    to supply, without formal introduction of evidence, facts essential to support a contention
 7    in a cause then before it”). Accordingly, Plaintiff’s request for judicial notice is denied.
 8          4. Defendants’ Evidentiary Objections 10-20 to Plaintiff’s Motion for
               Summary Judgment
 9
10          Defendants’ objections 10 through 20 pertain to portions of the Declaration of
11    Michael Diamond. Defendants make a number of arguments, principally arguing Diamond
12    is an undisclosed witness under Federal Rule of Civil Procedure 26, and the Court should
13    exclude the undisclosed witness’s testimony under Rule 37. (Defs.’ Evidentiary Objs. at
14    11-28). Plaintiff claims she does not intend to call Diamond as a witness at trial, and he is,
15    therefore, a percipient witness whose only purpose is to “authenticate documents for
16    purposes of this motion.” (Pl.’s Resp. to Objs. at 3). Additionally, Plaintiff argues if
17    Diamond were called to testify, the testimony would be exempt from Rule 26 disclosure as
18    solely for impeachment of Defendants’ assertion as to not receiving Dr. Zink’s AME
19    report. (Id.)
20          As previously discussed, (supra IV.A.1.i), a party that fails to provide information
21    or identify a witness pursuant to Rule 26, unless for impeachment purposes, “is not allowed
22    to use that information or witness to supply evidence on a motion, … unless the failure was
23    substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).
24          As clearly established by Rule 26 and Ninth Circuit case law, excluding testimony
25    offered “strictly for impeachment purposes” is improper. See Gribben v. United Parcel
26    Serv., Inc., 528 F3d 1166, 1171-72 (9th Cir. 2008) (finding that the district court erred for
27    excluding testimony not disclosed at pre-trial discovery and offered “strictly for
28    impeachment purposes”). To the extent that Diamond’s impeachment testimony may have

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 1    some substantive evidentiary value, the Court will instruct the jury that the testimony may
 2    be considered solely for its impeachment value. See id. at 1171; see also Equal Emp’t
 3    Opportunity Comm’n v. Trans Ocean Seafoods, Inc., No. 15-1563-RAJ, 2017 WL
 4    1022781, at *4-5 (W.D. Wash. Mar. 16, 2017).
 5          Additionally, Defendants’ arguments that Diamond is an undisclosed witness is
 6    unpersuasive. Plaintiff previously included a declaration from Michael Diamond in
 7    support of her opposition to defendants’ motion to dismiss. (See ECF No. 7-2). Plaintiff’s
 8    use of a declaration from Diamond in its opposition to Defendants’ motion to dismiss is
 9    evidence that Defendants were put on notice of Diamond’s involvement in the case, and
10    Plaintiff’s reliance on his testimony, as early as October 13, 2021. This notice gave
11    Defendants the opportunity to prepare their case with Diamond in mind, well before the
12    initial disclosure deadline. Furthermore, Diamond’s declaration is used to authenticate
13    documents central to this motion, and facts to which he has personal knowledge.
14    Accordingly, Defendants’ argument that Diamond is an undisclosed witness fails.
15          Defendants also object to specific portions of Diamond’s declaration as speculative
16    and lacking personal knowledge. (Defs.’ Evidentiary Objs. at 12-29). For example,
17    Defendants object to Diamond’s statement: “I believe defendant had access to all of Ms.
18    Lewis’ medical records, including many which were not directly related to the WC matter
19    or her leave of absence but were produced nonetheless.” (Id. at 26-27). The Court finds
20    this statement is speculative, however, to the extent Diamond’s declaration is speculative,
21    the Court does not rely on those portions in its ruling. Therefore, Defendants’ objections
22    to Diamond’s declaration are moot on those grounds. Defendants also recite the same
23    relevance and cumulative objections in Objections 10-20. That is, ‘Diamond’s testimony
24    is irrelevant as he admits he was never involved in the present action in any capacity, which
25    would include any advisement or counsel to Plaintiff regarding the interactive process or
26    FMLA/CFRA leaves of absence.” (See e.g. Defs.’ Evidentiary Objs. at 12, 14, 17). In
27    addition to being duplicative of the summary judgment standard, Diamond’s declaration,
28    his present sense impression, and the facts that he testifies to are relevant to the ultimate

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 1    issues underlying this matter. Furthermore, any objections for lack of foundation are
 2    capable of being cured at trial, and therefore not proper at this juncture. See Celotex Corp.,
 3    477 U.S. at 324 (“We do not mean that the nonmoving party must produce evidence in a
 4    form that would be admissible at trial in order to avoid summary judgment.”); Fraser v.
 5    Goodale, 342 F.3d 1032, 1036-37 (9th Cir. 2003) (holding the contents of the plaintiff’s
 6    diary admissible for purposes of summary judgment because the contents would be
 7    admissible at trial through the plaintiff’s personal knowledge).
 8          The remainder of Defendants’ objections are “boilerplate recitations of evidentiary
 9    principles or blanket objections without analysis applied to specific items of evidence.”
10    Capitol Recs., LLC v. BlueBeat, Inc., 765 F. Supp. 2d 1198, 1200 n.1 (C.D. Cal. 2010)
11    (quoting Doe v. Starbucks, Inc., 2009 WL 5183773, at *1 (C.D. Cal. Dec. 18, 2009).
12    Accordingly, the Court finds that it is “unnecessary and impractical . . . to methodically
13    scrutinize each objection and give a full analysis of each argument raised.” Id.
14    Accordingly, Defendants’ objections 10-20 are overruled.
15          5. Defendants’ Objection 21 to Plaintiff’s Motion for Summary Judgment
16          Defendants’ objection 21 is the first of several objections to Paragraph 5 of
17    Plaintiff’s declaration. (Defs.’ Evidentiary Objs. at 30). This portion of Plaintiff’s
18    declaration pertains to a phone call she had with Lashlee, in which Lashlee explained how
19    Plaintiff’s leave would be treated and what documentation was required of her. (Lewis
20    Decl. at ¶ 5). Defendants object and move to strike the entire paragraph under the “sham
21    affidavit rule,” citing inconsistencies between Plaintiff’s declaration and her prior
22    deposition testimony. (Id. at 30-31). Defendants also raise grounds for lack of foundation,
23    hearsay, relevance, and cumulative evidence. (Id. at 31).
24          The “sham affidavit rule” holds that “a party cannot create an issue of fact by an
25    affidavit contradicting his [or her] prior deposition testimony.” Van Asdale v. Int’l Game
26    Tech., 577 F.3d 989, 998 (9th Cir. 2009). This rule precludes a party from “rais[ing] an
27    issue of fact simply by submitting an affidavit contradicting his [or her] own prior
28    testimony,” which “would greatly diminish the utility of summary judgment as a procedure

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 1    for screening out sham issues of fact.” Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266
 2    (9th Cir. 1991). However, the sham affidavit rule should be applied with caution “because
 3    it is in tension with the principle that the court is not to make credibility determinations
 4    when granting or denying summary judgment.” Yeager v. Bowlin, 693 F.3d 1076, 1080
 5    (9th Cir. 2012). For example, “newly-remembered facts, or new facts, accompanied by a
 6    reasonable explanation, should not ordinarily lead to the striking of a declaration as a
 7    sham.” Id. at 1081 (citing Cleveland v. Policy Mgmt. Sys. Corp., 526 U.S. 795, 806-07
 8    (1999)). And, even if there exist minor inconsistencies, “ ‘the non-moving party is not
 9    precluded from elaborating upon, explaining or clarifying prior testimony elicited by
10    opposing counsel on deposition [and] minor inconsistencies that result from an honest
11    discrepancy, a mistake, or newly discovered evidence afford no basis for excluding an
12    opposition affidavit.’ ” Van Asdale, 577 F.3d at 999 (quoting Messick v. Horizon Indus.,
13    62 F.3d 1227, 1231 (9th Cir. 1995)).
14          Upon a thorough review of Plaintiff’s declaration, Plaintiff’s prior deposition
15    testimony, and Defendants’ arguments, the Court finds no material inconsistency to
16    warrant striking this portion of Plaintiff’s declaration. Defendants’ point to a number of
17    alleged inconsistent statements, without clearly articulating how Plaintiff’s deposition
18    testimony contradict her declaration. However, to the extent that Defendants rely on
19    Plaintiff’s declaration to assert that she was aware that she was on FMLA leave, this is
20    unpersuasive as throughout her deposition, she asserted that she believed she was on WC.
21    Furthermore, any minor inconsistencies noted by Defendants’ can plausibly be attributed
22    to confusion, and are better addressed at trial rather than the Court making a credibility
23    determination at this phase in the proceedings.
24          Defendants other evidentiary grounds as to this paragraph of Plaintiff’s declaration
25    similarly fail. Defendants’ hearsay objection is unpersuasive, because, to the extent any of
26    Lashlee’s statements to Plaintiff are offered for the truth, they would fall under the party
27    opponent hearsay exception as Lashlee was “[Defendants’] agent or employee,’ and the
28    statements were made “within the scope of that relationship,” as she spoke to Plaintiff in

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 1    her capacity as an HR manager. Fed. R. Evid. 801(d)(2)(D). The remainder of the
 2    objections are “boiler-plate recitations of evidentiary principles or blanket objections
 3    without analysis applied to specific items of evidence.” Capitol Recs., LLC, 765 F.Supp.2d
 4    at n.1. Accordingly, in light of the caution that must be exercised with regard to the sham
 5    affidavit rule, Defendants’ objection is overruled.
 6          6. Defendants’ Evidentiary Objections 22-23 to Plaintiff’s Motion for
               Summary Judgment
 7
 8          Defendants’ objections 22 and 23 pertain to paragraphs 7 and 8 of Plaintiff’s
 9    declaration, respectively. (Defs.’ Evidentiary Objs. at 32-33). In paragraph 7, Plaintiff
10    describes when and why she retained Michael Diamond to represent her in the WC claim.
11    (Lewis Decl. at ¶ 7). In paragraph 8, Plaintiff describes receiving a letter from CorVel,
12    informing her that it would be handling her WC claim on behalf of CoreCivic. (Id. at ¶ 8).
13    Both of Defendants’ objections are raised on grounds of relevance and cumulative
14    evidence. (Defs.’ Evidentiary Objs. at 32-33).
15          Defendants fail to articulate why either paragraph is cumulative. (Id.) As for
16    relevance, Defendants claim it is irrelevant that Plaintiff hired an attorney to represent her
17    in the WC claim and it is also irrelevant that CorVel represented Defendants in that claim.
18    (Id.) The Court is not persuaded by these arguments. For evidence to be relevant, it need
19    only “ha[ve] a tendency to make a fact more or less probable than it would be without the
20    evidence,” and “the fact is of consequence in determining the action.” Fed. R. Evid. 401.
21    Here, a question that permeates several causes of action is whether Plaintiff engaged in the
22    interactive process. If Plaintiff believed she was supposed to communicate with CorVel,
23    as a representative of Defendants, then the fact is of consequence in determining whether
24    Plaintiff engaged in the interactive process, and the letter and Plaintiff’s steps to hire an
25    attorney make that fact more probable. Accordingly, Defendants objections are overruled.
26    ///
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 1          7. Defendants’ Evidentiary Objections 24-29 to Plaintiff’s Motion for
               Summary Judgment
 2
 3          Defendants’ objections 24 through 29 pertain to paragraphs 9 through 14 of
 4    Plaintiff’s declaration, based on the “sham affidavit rule,” but also based on hearsay,
 5    relevance, speculation, and improper lay opinion. (Defs.’ Evidentiary Objs. at 33-43).
 6    These objections are substantially the same as Defendant’s objection 21. Therefore, the
 7    Court’s reasoning, (supra IV.A.5), similarly applies. Accordingly, Defendants’ objections
 8    are overruled.
 9          8. Defendants’ Evidentiary Objections 30-31 to Plaintiff’s Motion for
               Summary Judgment
10
11          Defendants’ objections 30 and 31 pertain to paragraphs 15 and 16 of Plaintiff’s
12    declaration. (Defs.’ Evidentiary Objs. at 43-44). In paragraph 15, Plaintiff explains that
13    she intended to return to work after her medical leave and believed she would be able to
14    do so after she was cleared by a doctor. (Lewis Decl. ¶ 15). In paragraph 16, Plaintiff
15    describes herself as a 65-year-old African American female, then explains that her earning
16    capacity was irreparably harmed by her termination, though Plaintiff does not claim she
17    was terminated because of her status as a 65-year-old African American female. (Id. at ¶
18    16). Defendants object to these statements, claiming they are speculative, lack personal
19    knowledge, and lack relevance. (Defs.’ Evidentiary Objs. at 43-44). Defendants also
20    object to paragraph 16 as an improper opinion. (Id. at 44). The Court does not rely on
21    these statements. Accordingly, Defendants’ objections are overruled as moot.
22    B.    Defendant’s Knowledge of the AME Report
23          Ther crux of the the instant motion turns on whether Defendants had actual or
24    imputed knowledge of Plaintiff’s AME report prepared by Dr. Zink as it is dispositive of
25    whether Plaintiff engaged in the interactive process and requested accommodation,
26    affecting the analysis for all Plaintiff’s claims. The Court will discuss Defendants’ actual
27    and imputed knowledge in turn.
28    ///

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 1          1. Defendants’ Actual Knowledge Regarding the AME Report
 2          Plaintiff argues Defendants received the AME report through Stacy Bickler, their
 3    attorney in the WC matter. (Pl.’s MSJ Reply at 3). As previously mentioned, a declaration
 4    of service shows the AME Report was served on Michael Anaple, Michael Diamond, and
 5    Stacy Bickler on October 8, 2019. (Schumacher Decl., ¶ 20, Ex. 19, ECF No. 40-2 at 213).
 6    However, while Bickler states that he received the AME report, he states he did not
 7    personally provide it to Defendants, nor is he aware of anyone in his office who did.
 8    (Bickler Decl. at ¶ 3). On the other hand, Plaintiff’s WC attorney, Michael Diamond, states
 9    there is “no question that [CoreCivic] was privy to this information, because [CoreCivic]
10    was a party to Ms. Lewis’ workers’ compensation claim … the AME report was served on
11    [CoreCivic] and its agents and me simultaneously.” (Diamond Decl. at ¶ 12). However,
12    the AME report’s declaration of service does not list Defendants directly. Furthermore,
13    Plaintiff provides no evidence to refute Bickler’s claim that he never gave the AME report
14    to CoreCivic. Accordingly, based on the motions and evidence before the Court, the Court
15    cannot determine that Defendant’s had actual knowledge of the AME report before
16    terminating Plaintiff’s employment.
17          2. Defendants’ Imputed Knowledge Regarding the AME Report
18          To support her claim that knowledge of the AME report is imputed to the Defendants
19    by way of their relationships with CorVel and Bickler, Plaintiff relies on Diaz v. Federal
20    Express Corp. (“Diaz”), No. CV 03-04765-SVW, 2004 WL 5402500 (C.D. Cal. Aug. 18,
21    2004), arguing that an employer has the ability to review an employee’s WC records for
22    medical information to determine whether she possesses a disability that requires
23    accommodation. (Pl.’s MSJ at 22). The court in Diaz held that defendant was imputed to
24    have knowledge of a report written by the plaintiff’s psychologist because it was received
25    by the defendant’s agents, who were the defendant’s employees specified to administer
26    WC claims. Diaz, 2004 WL 5402500, at *9-13. The Diaz court relied, in part, on
27    California Civil Code § 2332, which states: “As against a principal, both principal and
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 1    agent are deemed to have notice of whatever either has notice of, and ought, in good faith
 2    and the exercise of ordinary care and diligence, to communicate to the other.”
 3          Defendants, on the other hand, argue that Diaz is factually distinct because, there,
 4    the employer’s internal employees had access to the information, whereas here, CorVel is
 5    a third party. (Defs.’ MSJ Opp’n at 22). Instead, Defendants argue that “while an employer
 6    may have the ability to access employee medical records that are maintained by a third
 7    party and may relate to a leave of absence or need for some other accommodation, the
 8    employer has no duty or obligation to access such reports.” Id. at 21 (citing Hoskins v. BP
 9    Products N. America, Inc., No. 2:13-cv-0574-SVW-AJW, 2014 WL 116280, at *9 (C.D.
10    Cal. Jan. 9, 2014)) (emphasis in original).
11          An agent is defined as “one who represents another, called the principal, in dealings
12    with third persons.” Cal. Civ. Code § 2295. 9 A principal is imputed to have its agent’s
13    knowledge when that knowledge “can reasonably be said to be present in the mind of the
14    agent while acting for the principal.” Columbia Pictures Corp. v. DeToth, 87 Cal.App.2d
15    620, 631 (1948). This rule is based on the principal that “the agent has a legal duty to
16    disclose information obtained in the course of the agency and material to the subject matter
17    of the agency, and the agent will be presumed to have fulfilled this duty.” Triple A Mgmt.
18    Co. v. Frisone, 69 Cal.App.4th 520, 534-35 (1999). Even when the agent fails to
19    communicate such knowledge to the principal, this rule is still effective. Columbia
20    Pictures Corp., 87 Cal.App.2d at 630 (“agent may have been guilty of a breach of duty to
21    his principal, yet the knowledge has the same effect as to third persons as though [the
22    agent’s] duty had been faithfully performed.”).
23          When determining if a principal-agent relationship exists, courts look to the essential
24    characteristics of an agency relationship: “(1) An agent or apparent agent holds a power to
25
26
27    9
             The Court does not rely on Defendants’ knowledge of the AME report in ruling on
      Plaintiff’s interference claim under the FMLA. Plaintiff’s remaining claims arise under
28    California law. Therefore, the Court looks to California’s agency law.
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 1    alter the legal relations between the principal and third persons and between the principal
 2    and himself; (2) an agent is a fiduciary with respect to matters within the scope of the
 3    agency; and (3) a principal has the right to control the conduct of the agent with respect to
 4    matters entrusted to him.” Garlock Sealing Techs., LLC v. NAK Sealing Techs. Corp., 148
 5    Cal.App.4th 937, 964 (2007). With these characteristics in mind, the “primary test” of an
 6    agency relationship is the principal’s right to control the agent’s actions. Cox v. Kaufman,
 7    77 Cal.App.2d 449, 452 (1946). When looking for evidentiary support for an agency
 8    relationship, the court looks to the “relation of the parties as they in fact exist by agreement
 9    or acts,” and by whether the parties “intended to create an agent/principal relationship.”
10    Ralphs Grocery Co. v. Victory Consultants, Inc., 17 Cal.App.5th 245, 262-63 (2017)
11    (quoting APSB Bancorp v. Thornton rant, 26 Cal.App.4th 926. 932-33 (1994)). “To
12    sufficiently plead the existence of an agency relationship, a plaintiff must allege facts
13    demonstrating the principal’s control over its agent.”          Lansdown v. Bayview Loan
14    Servicing, LLC, No. 22-cv-00763-TSH, 2023 WL 2934932, at *8 (N.D. Cal. Apr. 12, 2023)
15    (quoting Akins v. Seterus, Inc., No. 2:16-cv-01656-TLN-KJN, 2019 WL 4243221, at *4
16    (E.D. Cal. Sept. 6, 2019)). Thus, unless the evidence is so clear that there is only one
17    reasonable inference as to whether the agency relationship exists, that question is ultimately
18    reserved for the trier of fact and not the court. Akins, 2019 WL 4243221, at *4.
19                 i.     Defendants’ Relationship with CorVel
20          As evidence to show an agency relationship existed between Defendants and
21    CorVel, Plaintiff offers a statement reflecting her understanding of the relationship
22    between Defendants and CorVel, (see Lewis Decl. at ¶ 8), and provides a letter from
23    CorVel informing her that it will be handling her WC claim on behalf of CoreCivic. (Lewis
24    Decl., ¶ 8, Ex. 13, ECF No. 40-2 at 185). Additionally, several deposed witnesses
25    acknowledge CorVel’s role in the same way. (See, e.g., Lashlee Depo. at 87:13-22; Cooper
26    Depo. at 22:6-15; Schumacher Decl., ¶ 6, Ex. 5 (Deposition of Steve Scott, “Scott Depo.”),
27    ECF No. 44-2 at 115, 88:7-20). However, the only evidence offered of communication
28    directly between Defendants and CorVel is an email from Emily Lao at CorVel to Lashlee,

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 1    informing her that Plaintiff’s WC claim remained denied as of October 15, 2019, and that
 2    CorVel was still awaiting the AME report from Dr. Zink. (Schumacher Decl., ¶ 16, Ex.
 3    15, ECF No. 40-2 at 191).
 4          No evidence is introduced that definitely establishes in any detail the relationship
 5    between Defendants and CorVel, nor the extent of CorVel’s authority and duties.
 6    Therefore, the facts are not such that only one reasonable inference can be made as to
 7    whether an agency relationship existed between Defendants and CorVel. As a result, a
 8    dispute exists as to whether an agency relationship existed, and consequently, whether
 9    Defendants are imputed to have knowledge of the AME report through their relationship
10    with CorVel.
11                 ii.     Defendants’ Relationship with Stacy Bickler
12          Plaintiff also argues that knowledge can be imputed to Defendants through their
13    attorney, Stacy Bickler. (Pl.’s MSJ at 23; Pl.’s MSJ Reply at 3-6).
14          The Ninth Circuit has repeatedly upheld that,“[o]rdinarily, a lawyer is a client’s
15    agent and, consistent with agency law, clients ‘are considered to have notice of all facts
16    known to their lawyer-agent.’ ” In re Perle, 725 F.3d 1023, 2027 (9th Cir. 2013) (quoting
17    Ringgold Corp. v. Worrall, 880 F.2d 1138, 1141-42 (9th Cir. 1989); Mackey v. Hoffman,
18    682 F.3d 1247, 1253 (9th Cir. 2012) (“the attorney and the client have an agency
19    relationship under which the principal is bound by the actions of the agent”). California
20    courts take the same approach. See, e.g. PLCM Group v. Drexler, 22 Cal.4th 1084, 1092
21    (quoting Kay v. Ehrler, 499 U.S. 432, 435-36) (“the word ‘attorney’ assumes an agency
22    relationship”); Rosenaur v. Scherer, 88 Cal.App.4th 260, 283 (2001) (holding “attorneys
23    are agents of their client”); Hartford Cas. Ins. Co. v. J.R. Mktg., L.L.C., 61 Cal.4th 988,
24    1013 (2015) (Liu, J., concurring) (the agency relationship between client and attorney is
25    well-established).
26          As evidence of an attorney-client agency relationship, Plaintiff provides a letter sent
27    from Bickler to Michael Diamond, stating: “[Bickler’s] office has been retained by
28    CoreCivic, to provide a defense in the above referenced workers’ compensation action.”

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 1    (Diamond Decl., ¶ 9, Ex. 17, ECF No. 40-2 at 204). Additionally, Defendants provide a
 2    declaration from Bickler in which he affirms she represented “the employer” in Plaintiff’s
 3    WC matter. (Bickler Decl. at ¶ 2). This is undisputed evidence that Bickler represented
 4    Defendants in his capacity as an attorney, making him Defendants’ agent.
 5          Additionally, Plaintiff offers evidence to demonstrate Bickler had knowledge of the
 6    AME report. The declaration of service attached to the AME report shows the report was
 7    served on Bicker’s office on October 8, 2021. (AME Report at 213). In fact, Bickler
 8    admits his office received the report, though he does not specify what date. (Bickler Decl.
 9    at ¶ 3). Therefore, because Bickler received the AME report, that knowledge is imputed
10    to Defendants. See Triple A Mgmt. Co., 69 Cal.App.4th at 534-35. Accordingly, the
11    Defendants will be deemed to have knowledge of the AME report as if Bickler had
12    communicated it to them for purposes of this motion.
13    C.    Plaintiff’s Motion for Partial Summary Judgment
14          1. Plaintiff’s Disability Status
15                 i.    Whether Plaintiff’s Request is Procedurally Proper
16          First, Plaintiff moves for summary judgment that “Ms. Lewis was ‘disabled’ and
17    Defendant[s] regarded her as ‘disabled’ within the meaning of the Fair Employment and
18    Housing Act.” (Pl.’s MSJ at 19). Plaintiff argues the multiple doctor’s notes she submitted,
19    which deemed her “totally temporarily disabled,” establish this element without dispute.
20    (Id.) Defendants do not dispute Plaintiff was disabled in their opposition.10 Instead,
21    Defendants argue the motion itself is improper as to this request because it seeks judgment
22    on just part of a claim. (Defs.’ MSJ Opp’n at 18-19).
23
24
25    10
             While Defendants do not contest that Plaintiff was disabled, they do argue Plaintiff
      failed to provide any physician’s note or medical certification that would extend her leave
26    past October 21, 2019. (Defs.’ MSJ Opp’n at 26). This, of course, relates to the dispute
27    over whether Defendants are to be imputed with knowledge of the AME report. This issue
      was addressed above, and Defendants are to be imputed with knowledge of the report. (See
28    supra IV.B.2).
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 1          Rule 56 was amended in 2010 to read: “A party may move for summary judgment,
 2    identifying each claim or defense – or the part of each claim or defense – on which
 3    judgment is sought.” Fed. R. Civ. P. 56(a) (emphasis added). The Advisory Committee
 4    Note to the 2010 Amendment explains subdivision (a) was amended to “make clear
 5    [that]...summary judgment may be requested not only as to an entire case but also as to a
 6    claim, defense, or part of a claim or defense. The subdivision caption adopts the common
 7    phrase ‘partial summary judgment’ to describe disposition of less than the whole action,
 8    whether or not the order grants all the relief requested by the motion.” Fed. R. Civ. P.
 9    56(a) advisory committee's note to the 2010 amendment. Defendants’ reliance on cases
10    decided prior to the 2010 amendment to Rule 56 is mistaken.
11          ii.    Whether Plaintiff is Disabled
12          As to Plaintiff’s motion to find her disabled, Plaintiff offers California’s FEHA
13    definition of “mental disability,” explaining Plaintiff submitted multiple doctor’s notes
14    outlining her disability, which she asserts is not disputed. (Pl.’s MSJ at 19-20). The
15    evidence Plaintiff provides in her motion to support this request is found throughout the
16    record. (See Lewis Decl. at ¶ 5 (Plaintiff’s declaration that she was instructed by HR to
17    visit the WC doctor, who would then directly provide documentation to Defendants);
18    Schumacher Decl., ¶ 13, Ex. 12, ECF No. 40-2 at 183 (the Dr. Zeidman note stating
19    Plaintiff was not expected to return to work until October 21, 2019); AME Report (and
20    attached declaration of service)). Defendants do not contest the factual allegations that
21    Plaintiff was disabled or that Defendants were aware of her disability. (Defs.’ MSJ Opp’n
22    at at 18-19).    To the contrary, Defendants admit they received and acknowledged
23    Plaintiff’s request for FMLA leave, (id. at 11), and they received Dr. Zeidman’s note on
24    August 5, 2019, (id. at 13). Therefore, the Court finds Plaintiff has met her burden to show
25    she was “disabled” within the meaning of California’s FEHA, and that Defendants
26    regarded her as disabled. Accordingly, Plaintiff’s motion for partial summary judgment is
27    granted as to this request.
28    ///

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 1          2. Request for Accommodation
 2          Plaintiff seeks partial summary judgment that “Ms. Lewis requested an
 3    accommodation for her disability,” arguing the AME report from Dr. Zink requested an
 4    accommodation of extended leave on behalf of Plaintiff. (Pl.’s MSJ at 20). Defendants
 5    again argue Plaintiff’s motion is improper because it only seeks summary judgment on part
 6    of a claim, (Defs.’ MSJ Opp’n at 18-19), and that knowledge of the AME report cannot be
 7    imputed to them, (id. at 20-22). Both of Defendants’ arguments fail for the reasons set
 8    forth above. (See supra IV.B.1-C.1).
 9          The California Legislature has expressly endorsed the Equal Employment
10    Opportunity Commission’s (“EEOC”) Enforcement Guidance into the FEHA. See Cal.
11    Gov. Code § 12926.1(e) (“The Legislature affirms the importance of the interactive process
12    between the applicant or employee and the employer in determining a reasonable
13    accommodation, as this requirement has been articulated by the Equal Employment
14    Opportunity Commission in its interpretive guidance of the federal Americans with
15    Disabilities Act of 1990.”). The EEOC’s Enforcement Guidance states, in part:
16              2. May someone other than the individual with a disability request a
                reasonable accommodation on behalf of the individual?
17
18              Yes, a family member, friend, health professional, or other
                representative may request a reasonable accommodation on behalf of
19              an individual with a disability. Of course, the individual with a
20              disability may refuse to accept an accommodation that is not needed.
                …
21              Example B: An employee has been out of work for six months with a
22              workers' compensation injury. The employee's doctor sends the
                employer a letter, stating that the employee is released to return to
23              work, but with certain work restrictions. (Alternatively, the letter may
24              state that the employee is released to return to a light duty position.)
                The letter constitutes a request for reasonable accommodation.
25
26    Gary S. Marx, 2 Disability Law Compliance Manual, Appendix B9 Enforcement
27    Guidance: Reasonable Accommodation and Undue Hardship Under the Americans with
28    Disabilities Act (West 2023).

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 1          Here, it is undisputed that Plaintiff attended an Agreed Medical Evaluation,
 2    performed by Dr. Robert Zink, in connection with her WC claim on September 12, 2019.
 3    (Lewis Decl. at ¶ 13). Dr. Zink created a report based on that evaluation, which was served
 4    on Defendants’ attorney, Stacy Bickler, on August 8, 2019.11 (AME Report at 213; Bickler
 5    Decl. at ¶ 3). In his report, Dr. Zink states:
 6              My opinion is that Ms. Lewis has been Temporarily Totally Disabled
                on a psychological basis from the time she left work at the end of the
 7
                day on 4/20/19 through the present time.
 8              …
                I expect that period of TTD to last at least another 6 to 8 weeks…
 9
                …
10              I expect that Ms. Lewis will be able to return to her usual and
                customary occupation for the employer in the future at another location
11
                where she is not under the supervision of Ms. Murphy.
12              …
                I expect Ms. Lewis will require further consideration of psychiatric
13
                medication for a number of additional months as chosen by her treating
14              psychiatrist.
                …
15
                My opinion is that Ms. Lewis requires additional psychotherapy of a
16              group or individual nature on an approximate once a week basis for at
                least the next 2 to 3 months, hopefully during which time she can
17
                further recover.
18
19    (AME Report at 210-11). Thus, the report comes from Plaintiff’s health professional and
20    plainly states her need for additional medical leave. Moreover, it communicates the
21    medical opinion that Plaintiff will be able to return to her duties after extended leave.
22    Defendants do not dispute the conclusions of Dr. Zink, nor do they dispute that receipt of
23
24
25
26    11
             Notably, this is well before Lashlee’s October 22, 2019, letter to Plaintiff informing
27    her that it was “critically important” to contact HR within ten days to arrange for Plaintiff’s
      return to work or inform them of her current medical status. (Lashlee Decl. ¶ 15, Ex. II-O,
28    ECF No. 41-3 at 718).
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 1    such a report would constitute a request for accommodation.12 Instead, Defendants
 2    continue to rely on the argument that knowledge of the AME report cannot be imputed to
 3    them. (Defs.’ MSJ Opp’n at 2-24). In light of the Court’s ruling on that argument, (see
 4    supra IV.B.2), and because the AME report is a request for accommodation, the Court
 5    finds summary judgment is proper on this issue. Accordingly, Plaintiff’s motion for
 6    summary judgment, as it pertains to her request for accommodation, is granted.
 7          3. Defendants’ Obligation to Engage in the Interactive Process
 8          Plaintiff seeks partial summary judgment that “Defendant was obligated to engage
 9    in a timely, good faith interactive process in response to Ms. Lewis’ request for
10    accommodation.” (Pl.’s MSJ at 23). Defendants principally argue they were not aware of
11    Plaintiff’s disability after October 21, 2019, and it was her burden to communicate her
12    disability before Defendants’ obligation to engage in the interactive process would be
13    triggered. (Defs.’ MSJ Opp’n at 27).
14          The FEHA requires, when an employee has a known disability or medical condition
15    that requires accommodation, a timely, good faith interactive process between employer
16    and employee. 2 Cal. Code Regs. § 11069(a). This duty is prompted when the employee
17    requests accommodation for his or her disability or when the employer recognizes the need
18    for one on its own. Brown v. Lucky Stores, Inc., 246 F.3d 1182, 1188 (9th Cir. 2001).
19    Furthermore, the employer’s obligation to engage in the interactive process in good faith
20    is continuous once the process has been initiated. Swanson v. Morongo Unified Sch. Dist.,
21    232 Cal.App.4th 954, 971 (2014). The scope of the employer’s obligations during that
22    interactive process are codified under Section 11069(c). Defendants do not dispute that
23    they had a duty under the FEHA statute. (See Defs.’ MSJ Opp’n at 25 (“CoreCivic’s duty
24
25
      12
            Defendants also argue that Plaintiff failed to engage in the interactive process and
26    ignored requests from Defendants for more information. (Defs.’ MSJ Opp’n at 26). These
27    arguments go toward whether Plaintiff engaged in the interactive process, not whether she
      requested reasonable accommodations. Therefore, those arguments will be discussed in a
28    subsequent section. (See infra IV.C.4).
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 1    under California law was to engage in a good faith discussion with Plaintiff about her need
 2    for continuing accommodations.”)). Furthermore, Defendants are imputed to have the
 3    knowledge of their agent, Stacy Bickler, who possessed a copy of the AME report, (see
 4    supra IV.B.2), which states Plaintiff was temporarily totally disabled and required
 5    additional medical leave, (see supra IV.C.2). Imputing knowledge of this report to
 6    Defendants, the Court treats the facts as though Defendants knew the report’s contents. As
 7    such, the contents of the AME report clearly communicate Plaintiff’s medical condition
 8    and need for accommodation. Therefore, Defendants are imputed to have knowledge of
 9    Plaintiff’s ongoing medical condition as of August 8, 2019, when the AME was served on
10    Bickler. Accordingly, Plaintiff’s motion for partial summary judgment as to Defendants
11    having an obligation to engage in a timely, good faith interactive process in response to her
12    request for accommodation is granted.
13          4. Defendants’ Involvement in the Interactive Process
14          Plaintiff seeks partial summary judgment that “Defendant[s] failed to engage in a
15    timely, good faith interactive process with Ms. Lewis in response to her request for
16    accommodation.” (Pl.’s MSJ at 24). Plaintiff argues Defendants failed to consider
17    Plaintiff’s request for accommodation (by and through the AME report) and failed to
18    initiate interactive dialogue about alternative accommodations. (Id. at 25). However,
19    Defendants rebut that it was in fact Plaintiff who failed to engage in the interactive process.
20    (Defs.’ MSJ Opp’n at 25-26).           Defendants contend Plaintiff failed to show an
21    accommodation was available and failed to communicate in good faith. (Id. at 24-25).
22          Both employer and employee are required to engage in a timely, good faith
23    interactive process once there is a known medical condition that requires accommodation.
24    2 Cal. Code Regs. § 11069(a). Both parties “shall exchange essential information …
25    without delay or obstruction of the process.” (Id.) When the disability or need for
26    accommodation is not obvious, the employer may request reasonable medical
27    documentation from the employee. Id. at § 11069(c)(2). Communications between
28

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 1    employer and employee are preferred to be direct, as opposed to communicating through
 2    third parties. Id. at § 11069(d)(4).
 3          The Seventh Circuit has provided guidance for courts when analyzing a breakdown
 4    of the interactive process:
 5              [C]ourts should look for signs of failure to participate in good faith or
                failure by one of the parties to make reasonable efforts to help the other
 6
                party determine what specific accommodations are necessary. A party
 7              that obstructs or delays the interactive process is not acting in good
                faith. A party that fails to communicate, by way of initiation or
 8
                response, may also be acting in bad faith. In essence, courts should
 9              attempt to isolate the cause of the breakdown and then assign
                responsibility.
10
11    Beck v. Univ. of Wis. Bd. of Regents (“Beck”), 75 F.3d 1130, 1135 (7th Cir. 1996)
12    (emphasis added). The Ninth Circuit has relied on this guidance from Beck. See Humphrey
13    v. Mem’l Hosps. Ass’n, 239 F.3d 1128, 1137 (9th Cir. 2001). Similarly, when the
14    interactive process fails, the responsibility rests with the party who failed to participate in
15    good faith. Gelfo v. Lockheed Martin Corp., 140 Cal.App.4th 34, 54 (2006).
16          As discussed above, Defendants sent Plaintiff a series of letters as the end of her
17    non-FMLA leave was approaching, dated September 30, October 17, and October 22,
18    2019. (Lashlee Decl. at ¶ 12-15). Plaintiff responded to the first of those letters with a
19    voicemail, stating she did not believe the requested documentation was necessary because
20    of her understanding that she was on WC leave. (Id. at ¶ 13). However, Plaintiff failed to
21    respond to the October letters. (Id. at ¶ 13-15). Even imputing knowledge of the AME
22    report to Defendants which was served on their attorney on October 8, 2019, the subsequent
23    October 17 and 22 letters from Defendant “initiate[d] discussion with [Plaintiff] regarding
24    alternative accommodations.” See 2 Cal. Code Regs. § 11069(c)(1).
25          In the October 17 letter, Defendants told Plaintiff, “[W]e expect you to return to
26    work when your leave expires on October 21, 2019…. This is to request once more that
27    you contact me immediately if you are unable to return to your duties for any reason.”
28    (Lashlee Decl., ¶ 14, Ex. N, ECF No. 44-1 at 716) (italics in original). Then, after receiving

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 1    no response from Plaintiff, Defendants similarly stated: “It is critically important that you
 2    contact me, Sherrie Lashlee, within ten (10) days from the date of this letter to make
 3    arrangements for your return to work or to advise us of your current medical status if you
 4    are unable to return to work.” (Lashlee Decl., ¶ 15, Ex. O, ECF No. 441 at 719). Plaintiff
 5    failed to respond to these attempts to initiate the interactive process, and, in reference to
 6    being shown the September 30 letter at her deposition, Plaintiff stated: “I wasn’t even
 7    reading that stuff anymore because I was under a doctor’s care. I don’t recall reading this
 8    letter.” (Lewis Depo. at 146:12-15). The instant facts clearly indicate Defendants initiated
 9    and engaged in the interactive process. Based on these facts, there exists a dispute of
10    material fact as to who is responsible for the breakdown of the interactive process, and
11    Plaintiff’s motion, as far as it seeks judgment that Defendants failed to engage in this
12    process, is denied.
13           5. Plaintiff’s Ability to Perform Her Job With Accommodation
14           Plaintiff seeks partial summary judgment that “Ms. Lewis was able to perform her
15    job with or without accommodation.” (Pl.’s MSJ at 25). Defendants oppose, arguing
16    Plaintiff failed to suggest any reasonable accommodation that would have enabled her to
17    perform her job. (Defs.’ MSJ Opp’n at 27).
18           To succeed on her claim, Plaintiff must prove that she was able to perform her job
19    with or without reasonable accommodation. See Nadaf-Rahrov, 166 Cal.App.4th at 977
20    (burden of proving ability to perform essential functions of job with accommodation rests
21    with plaintiff). Therefore, the operative question is whether there existed a reasonable
22    accommodation that would have enabled Plaintiff to perform the essential functions of her
23    job.   Under the FEHA, an employer has an affirmative duty to make reasonable
24    accommodations for the disability of an employee if the employer knows of the disability,
25    unless the employer can demonstrate, after the interactive process, that the accommodation
26    would impose an undue hardship. 2 Cal. Code Regs. § 11068(a). The FEHA includes,
27    under “Definitions,” a non-exhaustive list of reasonable accommodations. See id. at §
28    11065(p)(2). One example listed is: “Providing a paid or unpaid leave for treatment and

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 1    recovery, consistent with section 11068(c).” Id. at § 11065(p)(2)(M). Section 11068(c)
 2    states:
 3                 When the employee cannot presently perform the essential functions
 4                 of the job, or otherwise needs time away from the job for treatment and
                   recovery, holding a job open for an employee on a leave of absence or
 5                 extending a leave provided by the CFRA, the FMLA, other leave laws
 6                 or the employer’s leave plan may be a reasonable accommodation
                   provided that the leave is likely to be effective in allowing the
 7                 employee to return to work at the end of the leave, with or without
 8                 further reasonable accommodation, and does not create an undue
                   hardship for the employer.
 9
10    2 Cal. Code Regs. § 11068(c) (emphasis added). However, the FMLA and CFRA only
11    provide twelve weeks of medical leave. 29 U.S.C. § 2612(1); Rogers v. Cnty. of Los
12    Angeles, 198 Cal.App.4th 480, 490 (2011) (holding plaintiff was not entitled to additional
13    benefits after her twelve weeks of medical leave expired). Furthermore, “ ‘[r]easonable
14    accommodation does not require the employer to wait indefinitely for an employee’s
15    medical condition to be corrected.’ ” Hanson v. Lucky Stores, 74 Cal.App.4th 215, 226-27
16    (1999) (quoting Gantt v. Wilson Sporting Goods Co., 143 F.3d 1042, 1047 (6th Cir. 1998)).
17    An employer is not liable for terminating an employee who is unable to perform the
18    essential duties of her job with or without accommodation.               Nadaf-Rahrov, 166
19    Cal.App.4th at 976; Cal. Gov. Code § 12940(1)-(2).
20              In the AME report, Dr. Zink opined: “I expect that Ms. Lewis will be able to return
21    to her usual and customary occupation for the employer in the future at another location
22    where she is not under the supervision of Ms. Murphy.” (Id. at 210). Dr. Zink also stated:
23    “Ms. Lewis requires additional psychotherapy of a group or individual nature on an
24    approximate once a week basis for at least the next 2 to 3 months, hopefully during which
25    time she can further recover.” (Id. at 211). However, it is undisputed that Plaintiff was on
26    medical leave for more than six months between April of 2019 and her eventual termination
27    on November 4, 2019. (Lewis Decl. at ¶¶ 4-14; Lashlee Decl. at ¶ 17). That is twice as
28    long as the twelve weeks prescribed by the FMLA. Yet, Plaintiff still argues she “requested

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 1    only a temporary extension of her medical leave of absence in order to return to work,”
 2    (Pl.’s MSJ at 26), which would amount to eight or nine months of total leave without any
 3    guarantees that she would be able to return at that point. To succeed on her motion,
 4    Plaintiff would need to show there is no genuine dispute of material fact that she could
 5    perform the essential functions of her job with reasonable accommodation. Plaintiff fails
 6    to meet this burden of showing her request for an additional two to three months of leave
 7    was reasonable. Accordingly, Plaintiff’s motion for partial summary judgment as to this
 8    issue is denied.
 9          6. Failure to Provide Reasonable Accommodation
10          Plaintiff seeks partial summary judgment that “Defendant[s] failed to grant Ms.
11    Lewis a reasonable accommodation.” (Pl.’s MSJ at 26). On the other hand, Defendants
12    claim Plaintiff is responsible for the breakdown in the interactive process, which precludes
13    her from succeeding on her claim that Defendants failed to grant accommodation. (Defs.’
14    MSJ Opp’n at 28).
15          Plaintiff brings a claim for failure to accommodate, which requires a showing that:
16    “(1) the plaintiff has a disability covered by the FEHA; (2) the plaintiff is a qualified
17    individual (i.e., she can perform the essential functions of the position with or without an
18    accommodation); and (3) the employer failed to reasonably accommodate the plaintiff’s
19    disability.” Cuiellette v. City of Los Angeles, 194 Cal.App.4th 757, 766 (2011) (quoting
20    Wilson v. Cnty. of Orange, 169 Cal.App.4th 1185, 1192 (2009)). Therefore, “the employee
21    must establish that [the employee] requested an accommodation, and that the employee is
22    not responsible for any breakdowns in the interactive process.” Hoskins, 2014 WL 116280,
23    at *9 (citing Gelfo, 140 Cal.App.4th at 54). Significantly, “[i]f the interactive process
24    breaks down because the employee fails to engage in discussions in good faith, the
25    employee cannot establish a claim for failure to accommodate.” Id. at *9.
26          Additionally, if the employee cannot be reasonably accommodated in her current
27    position, the employer has an affirmative duty to look for other available positions for
28    which she would be qualified. Spitzer v. The Good Guys, Inc., 80 Cal.App.4th 1376, 1389

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 1    (2000). However, the employer is not required to reassign the employee if there are no
 2    vacant positions for which she is qualified. Id. “[T]he responsibility to reassign a disabled
 3    employee who cannot otherwise be accommodated does ‘not require creating a new job,
 4    moving another employee, promoting the disabled employee, or violating another
 5    employee’s rights under a collective bargaining agreement’ but it nevertheless does entail
 6    affirmative action.” Id. at 1389 (quoting Cassidy v. Detroit Edison Co., 138 F.3d 629, 634
 7    (6th Cir. 1998) (internal citation omitted).
 8          Here, there exists a genuine dispute of material fact regarding who is responsible for
 9    the breakdown of the interactive process. Plaintiff failed to respond directly to Defendants’
10    letters, which were sent after Defendants’ attorney received the AME report. On the other
11    hand, Defendants failed to specifically address the accommodation requested in the AME
12    report in their October 2019 letters. Accordingly, the questions of who is responsible for
13    the breakdown, and whether one or both parties failed to act in good faith, are disputes of
14    material fact which are properly decided by the trier of fact. Accordingly, Plaintiff’s motion
15    for partial summary judgment as it pertains to Defendants’ failure to provide reasonable
16    accommodations is denied.13
17          7. Discrimination Based on Disability Status
18          Plaintiff seeks partial summary judgment that “by failing to grant Ms. Lewis a
19    reasonable accommodation, Defendant[s] discriminated against Ms. Lewis based on her
20    disability.” (Pl.’s MSJ at 26-27). To succeed on a disability-based discrimination claim,
21    Plaintiff must prove she was subject to an adverse employment action because of her
22    disability or perceived disability. Sandell v. Taylor-Listub, Inc., 188 Cal.App.4th 297, 310
23    (2010). Plaintiff claims she was subjected to an adverse employment action when she was
24
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26    13
            Defendants also argue in their motion for summary judgment that Plaintiff’s request
27    for additional leave is unreasonable because she had already exhausted her twelve weeks
      of FMLA before October 21, 2019. (Defs.’ MSJ at 19). This argument will be further
28    addressed below. (See infra IV.D.1).
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 1    terminated instead of receiving an accommodation. (Pl.’s MSJ at 27). In light of the
 2    Court’s rulings above regarding a breakdown in the interactive process, the Court finds the
 3    facts preclude summary judgment for Plaintiff on this issue. Accordingly, Plaintiff’s
 4    motion for partial summary judgment, as it pertains to Defendants’ discriminating against
 5    her based on her disability is denied. 14
 6           8. Retaliation Based on Request for Accommodation
 7           Plaintiff seeks partial summary judgment that Defendants “retaliated against Ms.
 8    Lewis because she requested an accommodation in the form of extended medical leave.”
 9    (Pl.’s MSJ at 27). Plaintiff argues that because she requested accommodation through the
10    AME report, and she was subsequently terminated “for taking leave for her disability,” she
11    is entitled to summary judgment on this issue. (Id. at 28). Defendants argue they provided
12    a legitimate, nondiscriminatory reason for the termination, being Plaintiff’s failure to
13    respond to the October 2019 letters asking her for information regarding her plans to return
14    to work. (Defs.’ MSJ Opp’n at 29). In light of the Court’s rulings above regarding the
15    Parties’ engagement in the interactive process and because questions remain as to whether
16    Defendants failed to provide reasonable accommodation, the Court finds summary
17    judgment inappropriate as to whether Defendants retaliated against Plaintiff because of her
18    request for accommodation. Accordingly, Plaintiff’s motion for partial summary judgment
19    is denied as to this request. 15
20           9. Hardship on Defendants if Accommodation were Granted
21           Plaintiff seeks partial summary judgment that Defendants “thirty-first affirmative
22    defense fails because granting Ms. Lewis’ request for Accommodation would not have
23
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25    14
             Plaintiff’s claim for employment discrimination based on her disability in violation
      of the FEHA is discussed in more detail as it relates to Defendants’ motion for summary
26    judgment. (See infra IV.D.3).
27    15
             Plaintiff’s claim for retaliation based on her disability in violation of the FEHA is
      discussed in more detail as it relates to Defendants’ motion for summary judgment. (See
28    infra IV.D.2).
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 1    caused any undue hardship.” (Pl.’s MSJ at 28). Defendants’ thirty-first affirmative defense
 2    reads: “To the extent Plaintiff claims that she requested an accommodation, such request
 3    was unreasonable and would have produced an undue hardship.” (“Affirmative Defenses,”
 4    ECF No. 11 at 28, ¶ 31). Defendants fail to address this issue in their Opposition.
 5          California law explains that it is the employer’s burden to demonstrate an undue
 6    hardship after engaging in the interactive process:
 7               An employer . . . has an affirmative duty to make reasonable
                 accommodation(s) for the disability of any . . . employee if the employer
 8
                 . . . knows of the disability, unless the employer . . . can demonstrate, after
 9               engaging in the interactive process, that the accommodation would
                 impose an undue hardship.
10
11    2 Cal. Code Regs. § 11068(a) (emphasis added). Because a dispute of material fact exists
12    as to who is responsible for the breakdown of the interactive process in this case, there also
13    exists a dispute of material fact as to whether accommodating Plaintiff would have imposed
14    an undue hardship on Defendants. Accordingly, Plaintiff’s motion for partial summary
15    judgment as to Defendants’ thirty-first affirmative defense is denied.
16           10. Wrongful Termination Claim
17           Last, Plaintiff seeks summary adjudication of her wrongful termination claim as a
18    matter of law. (Pl.’s MSJ at 30). In light of the Court’s denial of Plaintiff’s requests as to
19    her claims for discrimination, (see supra IV.C.7), and retaliation, (see supra IV.C.8), this
20    request is similarly denied.
21    D.    Defendants’ Motion for Summary Judgment
22          1. Plaintiff’s First and Second Causes of Action
23          Defendants seek summary judgment on Plaintiff’s claims for interference in
24    violation of the FMLA and CFRA. (Defs.’ MSJ at 17-18). Defendants argue Plaintiff’s
25    claims fail for three reasons: (1) Plaintiff was not entitled to the extended leave, (2) Plaintiff
26    was informed of her rights and obligations, and (3) Plaintiff’s failure to communicate with
27    Defendants is fatal to her claim. (Id. at 18-19). Plaintiff does not respond directly to
28    Defendants’ first argument in her opposition.

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 1          The FMLA was enacted in 1993, in part, to “entitle employees to take reasonable
 2    leave for medical reasons, for the birth or adoption of a child, and for the care of a child,
 3    spouse, or parent who has a serious health condition.”            29 U.S.C. § 2601(b)(2).
 4    Additionally, “CFRA adopts the language of the FMLA and California state courts have
 5    held that the same standards apply.” Xin Liu v. Amway Corp., 347 F.3d 1125, 1132 n.4
 6    (9th Cir. 2003).
 7          The FMLA creates two substantive rights for employees: (1) the employee has a
 8    right to use a certain amount of leave for protected reasons, and (2) the employee has a
 9    right to reinstatement after using that protected leave. Bachelder v. Am. W. Airlines, Inc.,
10    259 F.3d 1112, 1122 (9th Cir. 2001) (citing 29 U.S.C. §§ 2612(a), 1614(a)). When these
11    rights have been violated, an employee can recover under the interference or entitlement
12    theory.16 See Zin Liu v. Amway Corp., 347 F.3d 1125, 1133 (9th Cir. 2003); Smith v. Diffee
13    Ford-Lincoln-Mercury, Inc., 298 F.3d 955, 960 (10th Cir. 2002) (“Courts have recognized
14    two theories for recovery on FMLA claims under § 2615, the retaliation or discrimination
15    theory and the entitlement or interference theory”).
16          “The right to reinstatement guaranteed by 29 U.S.C. § 1614(a)(1) is the linchpin of
17    the entitlement theory because ‘the FMLA does not provide leave for leave’s sake, but
18    instead provides leave with an expectation that an employee will return to work after the
19    leave ends. ’ ” Sanders v. City of Newport, 657 F.3d 772, 778 (9th Cir. 2011) (quoting
20    Edgar v. JAC Prods., Inc., 443 F.3d 501, 507 (6th Cir. 2006)). Therefore, failing to
21    reinstate an employee who was on FMLA leave to her original or equivalent position
22
23
24    16
             The “interference” theory is based on 19 U.S.C. Section 2615(a)(1), which states:
25    “It shall be unlawful for any employer to interfere with, restrain, or deny the exercise of or
      the attempt to exercise” any rights established by the FMLA. The Ninth Circuit has held
26    that the McDonnell Douglas burden-shifting framework applies to other employment-
27    related causes of action, but does not apply to these “interference” claims. Bachelder, 259
      F.3d at 1125 (holding an employee “can prove this claim, as one might any ordinary
28    statutory claim”).
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 1    constitutes a prima facie denial of the employee’s FMLA rights. Sanders, 657 F.3d at 778.
 2    The Ninth Circuit has summarized an employee’s prima facie case where the employer
 3    fails to reinstate after FMLA leave into five elements: “(1) [s]he was eligible for the
 4    FMLA’s protections, (2) [her] employer was covered by the FMLA, (3) [s]he was entitled
 5    to leave under the FMLA, (4) [s]he provided sufficient notice of [her] intent to take leave,
 6    and (5) [her] employer denied [her] FMLA benefits to which [s]he was entitled.” Id.
 7    (quoting Burnett v. LFW Inc., 472 F.3d 471, 477 (7th Cir. 2006)).
 8          However, the employee’s right to reinstatement is not without limits. See 29 U.S.C.
 9    § 2614(a)(3)(B) (“Nothing in this section shall be construed to entitle the employee to …
10    any right, benefit, or position of employment other than any right, benefit or position to
11    which the employee would have been entitled had the employee not taken the leave.”).
12    Specifically, the FMLA dictates that an employee “shall be entitled to a total of 12
13    workweeks of leave during any 12-month period … (D) Because of a serious health
14    condition that makes the employee unable to perform the functions of the position of such
15    employee.” 29 U.S.C. § 2612(1) (emphasis added). The Ninth Circuit has explained:
16
                The twelve-week limitation on employees’ protected leave time ‒
17              protected in the sense that the employee is entitled to reinstatement
                upon the end of the leave ‒ as well as other provisions in the final Act,
18
                demonstrates that Congress wanted to ensure that employees’
19              entitlement to leave and reinstatement did not unduly infringe on
                employers’ needs to operate their businesses efficiently and profitably.
20
21    Bachelder, 259 F.3d at 1120. Therefore, California courts have held employees are not
22    entitled to additional benefits after the statutorily prescribed twelve weeks of leave have
23    been exhausted.     See Rogers, 198 Cal.App.4th at 490 (holding plaintiff’s right to
24    reinstatement expired when her 12-week protected CFRA leave expired); Neisendorf v.
25    Levi Strauss & Co., 143 Cal.App.4th 509, 518 (2006) (holding employer did not have a
26    duty to reinstate employee after 14-week medical leave).
27          Here, Plaintiff’s First and Second Causes of Action fall into the “interference”
28    category. (See Comp. ¶¶ 28-51). Plaintiff alleges the substantive right violation for each

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 1    claim was her termination, or rather, Defendants’ failure to reinstate her. (Id. at ¶¶ 33, 46).
 2    Factually, it is undisputed that Plaintiff requested FMLA leave in late April of 2019.
 3    (Lewis Decl. at ¶ 4; Lashlee Decl., ¶ 4, Ex. D (Plaintiff’s Request for FMLA Leave), ECF
 4    No. 41-3 at 684). It is also undisputed that Plaintiff’s FMLA leave request was approved.
 5    (Lewis Decl. at ¶ 6; Lashlee Decl., ¶ 12, Ex. M (September 30 Letter), ECF No. 41-3 at
 6    712). Finally, it is undisputed Plaintiff was on leave for more than six months between
 7    April of 2019 and her eventual termination on November 4, 2019. (Lewis Decl. at ¶¶ 4-
 8    14; Lashlee Decl. at ¶ 17). Plaintiff fails to provide any reason why she should be entitled
 9    to reinstatement under the FMLA and CFRA, after she exceeded the statutorily prescribed
10    twelve-week period. Therefore, in light of the law and Plaintiff’s undisputed six-month
11    medical leave, the Court finds summary judgment is appropriate on these claims, granting
12    Defendants’ motion, and dismissing Plaintiff’s First and Second Causes of Action.
13          2. Plaintiff’s Third Cause of Action
14          Defendants seek summary judgment on Plaintiff’s retaliation claim under the CFRA.
15    (Defs.’ MSJ at 20). Defendants argue Plaintiff’s claim fails because she was terminated
16    for the legitimate, nondiscriminatory reason that she failed to respond to numerous letters
17    requesting updates pertaining to her plans to return to work. (Id. at 20). Plaintiff responds
18    by repeating the elements underlying her claim and the facts she contends support them.
19    (Pl.’s MSJ Opp’n at 28).
20          The prima facie elements for a CFRA retaliation claim are: (1) the employer was
21    covered by the CFRA; (2) the employee was eligible to take CFRA leave; (3) the employee
22    exercised her right to take leave for a CFRA-protected purpose; and (4) the employee
23    suffered an adverse employment action, such as termination, because she exercised her
24    right to CFRA leave. Moore v. Regents of Univ. of Cal.¸ 248 Cal.App.4th 216, 248 (2016)
25    (quoting Faust v. Cal. Portland Cement Co., 150 Cal.App.4th 864, 885 (2007)).
26          The Court applies the burden-shifting scheme articulated by the Supreme Court in
27    McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). See Moore, 248 Cal.App.4th at
28    248, (“[T]he McDonnell Douglas burden shifting analysis applies to retaliation claims

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 1    under CFRA.”). Under the McDonnell Douglas framework, the initial prima facie burden
 2    on the plaintiff is light, requiring minimal evidence. Heard v. Lockheed Missiles & Space
 3    Co., 44 Cal.App.4th (1996); Hersant v. Dept. of Social Servs., 57 Cal.App.4th 997, 1003
 4    (1997) (generally, an employee only has to offer circumstantial evidence to give rise to a
 5    reasonable inference of discrimination). If the plaintiff meets the burden of a prima facie
 6    showing, a presumption of discrimination arises, and the burden then shifts to the employer
 7    to rebut the presumption by producing admissible evidence, sufficient to raise a genuine
 8    issue of fact and to justify the action with a legitimate, nondiscriminatory reason. Guz v.
 9    Bechtel Nat., Inc., 24 Cal.4th 317, 355-56 (2000). If the employer meets its burden of
10    proffering a legitimate, nondiscriminatory reason for the adverse employment action, the
11    burden shifts back to the plaintiff to prove the employer’s proffered reasons are a pretext
12    for discrimination. Id. at 356. The McDonnell Douglas framework was originally intended
13    for trial, but at summary judgment the trial court’s decision “will depend on a number of
14    factors, including the strength of the plaintiff’s prima facie case, the probative value of the
15    proof that the employer’s explanation is false, and any other evidence that supports the
16    employer’s case.” Zamora v. Sec. Indus. Specialists, Inc., 71 Cal.App.5th 1, 32-33 (2021).
17    Furthermore, employment cases often involve issues of intent and motive, which “are
18    rarely appropriate for disposition on summary judgment[.]” Id. at 33 (italics omitted).
19          Defendants argue they have offered a legitimate, nondiscriminatory reason for
20    Plaintiff’s termination, and Plaintiff has failed to show that reason was a pretext for
21    discrimination. (Defs.’ MSJ at 20-22). Defendants claim Plaintiff was terminated because
22    she failed to respond to numerous letters. (Id. at 20). Looking to the November 4, 2019,
23    letter informing Plaintiff of her termination, Lashlee also cited: “As of October 21, 2019,
24    you exhausted the full FMLA and general medical leave for which you are eligible[.]”
25    (Lashlee Decl., ¶ 16, Ex. II-P, ECF No. 41-3 at 721). As discussed above, (see supra
26    IV.D.1), Plaintiff was not entitled to reinstatement after her statutorily prescribed FMLA
27    leave was exhausted. Therefore, Defendants have met their burden of proffering a
28    legitimate, nondiscriminatory reason for Plaintiff’s termination, which shifts the burden

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 1    back to Plaintiff to demonstrate that reason is a pretext for discrimination.        In her
 2    opposition, Plaintiff argues how she has met the elements of her prima facie case but fails
 3    to address how Defendant’s proffered reasons for her termination may be pretextual.
 4          Therefore, while Plaintiff may have met her initial burden for a prima facie showing
 5    of retaliation in violation of the CFRA, she has failed to meet the shifting burden of
 6    demonstrating Defendants’ proffered reasons for terminating her are pretextual. Under the
 7    evidence and argument represented in the motions, Plaintiff has failed to raise a genuine
 8    dispute of material fact to survive summary judgment on this claim.           Accordingly,
 9    Defendants’ motion for summary judgment is granted as to Plaintiff’s Third Cause of
10    Action for retaliation under the CFRA.
11          3. Plaintiff’s Fourth Cause of Action
12          Defendants seek summary judgment on Plaintiff’s FEHA discrimination claim.
13    (Defs.’ MSJ at 22). Defendants argue Plaintiff’s claim fails because, like above, (see supra
14    IV.D.2), they proffered a legitimate, nondiscriminatory reason for Plaintiff’s termination,
15    which she failed to demonstrate is a pretext for discrimination.         Plaintiff contends
16    discrimination claims based on a disability do not require the plaintiff to prove “the
17    employer’s adverse employment action was motivated by animosity or ill will against the
18    employee.” (Pl.’s MSJ Opp’n at 27).
19          Courts have held the McDonnell Douglas burden-shifting framework does not apply
20    to disability discrimination cases where the plaintiff introduces direct evidence that the
21    adverse employment action was motivated by prohibited reasons. Compare Wallace v.
22    Cnty. of Stanislaus, 245 Cal.App.4th 109, 115-23 (2016) (finding direct evidence because
23    the employer incorrectly understood that the plaintiff could not safely perform his job and
24    did not provide any other reasons for the unpaid leave); Glynn v. Super. Ct., 42 Cal.App.5th
25    47, 51-54 (2019) (holding employer’s decision to terminate an employee who could have
26    returned to work with reasonable accommodation was direct evidence of discrimination,
27    even though the employer believed the employee was unable to return to work with
28    reasonable accommodation); with Zamora, 71 Cal.App.5th at 37 (finding an employee’s

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 1    termination based on lack of attendance, and the employer’s knowledge of the employee’s
 2    disability and request for accommodation, not sufficient to be direct evidence of
 3    discrimination).
 4          This case falls in line with Zamora because an employer terminating an employee
 5    who is unable to perform the essential duties of her job, with or without accommodation,
 6    is not direct evidence of discrimination. See Nadaf-Rahrov, 166 Cal.App.4th at 976;
 7    Hanson v. Lucky Stores, Inc., 74 Cal.App.4th 215, 226-27 (1999) (“Reasonable
 8    accommodation does not require the employer to wait indefinitely for an employee’s
 9    medical condition to be corrected.”). Moreover, similar to Zamora, and distinguished by
10    Wallace and Glynn, Defendants made no erroneous conclusion here about Plaintiff’s
11    disability. It is undisputed that, at the time Plaintiff was terminated, on November 4, 2019,
12    she was temporarily totally disabled and unable to perform the essential functions of her
13    job. (AME Report at 210.) To that end, Plaintiff’s reliance on Wallace, (Pl.’s MSJ at 27),
14    is unpersuasive.   Therefore, without direct evidence that Plaintiff’s termination was
15    motivated by prohibited reasons, the McDonnell Douglas framework applies. In line with
16    the discussion of Defendants’ proffered legitimate, nondiscriminatory reasons for
17    termination above, (see supra IV.D.2), Plaintiff has failed to raise a genuine dispute of
18    material fact to survive summary judgment on this claim. Accordingly, Defendants’
19    motion for summary judgment is granted, and Plaintiff’s Fourth Cause of Action for
20    disability discrimination under FEHA is dismissed.
21          4. Plaintiff’s Fifth Cause of Action
22          Defendants seek summary judgment on Plaintiff’s claim for failure to provide
23    reasonable accommodation in violation of the FEHA. (Defs.’ MSJ at 23). Defendants
24    argue Plaintiff’s claim fails for three reasons: “1) Plaintiff cannot identify a reasonable
25    accommodation that was available, 2) Plaintiff refused to engage in the interactive process;
26    and 3) the extended leave CoreCivic provided Plaintiff constitutes a reasonable
27    accommodation.” (Id.) Plaintiff, on the other hand, argues that extended medical leave is
28    a reasonable accommodation, Defendants are responsible for the breakdown of the

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 1    interactive process, and Plaintiff was not reasonably accommodated because she was
 2    denied additional leave. (Pl.’s MSJ Opp’n at 18, 21, 24).
 3          Claims for failure to provide accommodation in violation of the FEHA require a
 4    showing that “(1) the plaintiff has a disability covered by the FEHA; (2) the plaintiff is a
 5    qualified individual (i.e., she can perform the essential functions of the position with or
 6    without an accommodation); and (3) the employer failed to reasonably accommodate the
 7    plaintiff’s disability.” Cuiellette, 194 Cal.App.4th at 766 (quoting Wilson, 169 Cal.App.4th
 8    at 1192).
 9          As discussed above, the Court finds there exist genuine disputes of material facts as
10    to the issues of the existence of a reasonable accommodation, (see supra IV.C.5), and
11    whether Defendants failed to accommodate, (see supra IV.C.6). Accordingly, summary
12    judgment is not appropriate on this issue and Defendants’ motion is denied as to Plaintiff’s
13    Fifth Cause of Action for a failure to provide reasonable accommodation under FEHA.
14          5. Plaintiff’s Sixth Cause of Action
15          Defendants seek summary judgment on Plaintiff’s claim for failure to engage in the
16    interactive process in violation of the FEHA. (Defs.’ MSJ at 25). Defendants argue
17    Plaintiff’s claim fails for two reasons: (1) Plaintiff did not request an accommodation for
18    her disability, and (2) Plaintiff was unwilling to engage in the interactive process. (Id. at
19    26-27). Plaintiff responds by arguing Defendants are responsible for the breakdown in the
20    interactive process because they failed to respond to the AME report. (Plaintiff Opp’n at
21    22-23).
22          Defendants’ duty to engage in the interactive process is discussed above, (supra
23    IV.C.3), as is Defendants’ actual participation in the process, (supra IV.C.4). Plaintiff’s
24    argument hinges on Defendants’ failure to respond to the AME report. However, what
25    Plaintiff fails to acknowledge is that two of the letters she received from Defendants came
26    after the AME report was served on Defendants’ lawyer, therefore, Defendants did not stop
27    the interactive process. In fact, the evidence shows that Plaintiff stopped responding,
28    admitting, “I wasn’t even reading that stuff anymore because I was under a doctor’s care.”

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 1    (Lewis Depo. at 146:12-15). Plaintiff willfully stopped reading Defendants’ attempts at
 2    communication with her. Despite Plaintiff’s admission, Defendants also failed to address
 3    the AME report, or the accommodation requested therein, through their letters. (See supra
 4    IV.C.4). Therefore, the Court finds there is a genuine dispute of material fact as to who is
 5    responsible for the breakdown of the interactive process. Accordingly, Defendants’ motion
 6    for summary judgment, as to Plaintiff’s Sixth Cause of Action for failure to engage in the
 7    interactive process in violation of the FEHA is denied.
 8          6. Plaintiff’s Seventh Cause of Action
 9          Defendants seek summary judgment on Plaintiff’s claim for failure to prevent
10    discrimination/harassment pursuant to California Government Code Section 12940(k).
11    (Defs.’ MSJ at 28). Defendants argue that a claim for failure to prevent discrimination is
12    derivative of a claim of discrimination, and therefore, dismissal of the discrimination claim
13    necessitates dismissal of the other. (Id.) Plaintiff does not specifically address this claim
14    in her opposition. Defendants provide a string of authority to demonstrate that, when a
15    discrimination claim is dismissed, the derivative claim of failure to prevent discrimination
16    should also be dismissed. (See id. citing Ward v. Cnty. of Siskiyou, 816 Fed.App’x 51, 55
17    (9th Cir. 2020); Engel v. Time Warner Cable, No. EDCV 19-047 PSG, 2020 WL 2114933,
18    at *10 (C.D. Cal. Jan. 30, 2020), aff’d, 847 F.App’x 405 (9th Cir. 2021); Ceja-Corona v.
19    CVS Pharmacy, Inc., 664 F. App’x 649, 651 (9th Cir. 2016); Mack v. Fed. Express Corp.,
20    No. 2:21-cv-01705-SB-JC, 2022 WL 2102889, at *9 (C.D. Cal. Jan. 7, 2022)).
21          Here, Plaintiff’s Third and Fourth Causes of Action for discrimination and retaliation
22    were dismissed.    (See supra IV.D.2-3).      The derivative claim of failure to prevent
23    discrimination/harassment should likewise be dismissed.          Accordingly, Defendants’
24    motion for summary judgment, as to Plaintiff’s Seventh Cause of Action is granted and
25    the claim for failure to prevent discrimination/harassment pursuant to California
26    Government Code Section 12940(k) is dismissed.
27    ///
28    ///

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 1          7. Plaintiff’s Eighth Cause of Action
 2          Defendants seek summary judgment on Plaintiff’s claim for wrongful termination in
 3    violation of public policy. (Defs.’ MSJ at 29). Defendants argue this claim is derivative
 4    of Plaintiff’s FMLA, CFRA, and FEHA claims and, because those claims fail, so too
 5    should this one. (Id.) Defendants cite to several cases, among which is Calderon v.
 6    Fresenius USA, Inc., No. CV207869PSGJEMX, 2022 WL 3012180, at *17 (C.D. Cal. Feb.
 7    15, 2022), aff’d sub nom. No. 22-55305, 2023 WL 4234233 (9th Cir. June 28, 2023), which
 8    held that a plaintiff’s claim for wrongful termination in violation of public policy fails
 9    because the Court finds no underlying statute that was violated. Plaintiff fails to respond
10    to this issue in her opposition.
11          Here, Plaintiff’s Fifth and Sixth Causes of Action for failure to provide reasonable
12    accommodation and failure to engage in the interactive process, respectively, in violation
13    of the FEHA remain. (See supra IV.D.4). Accordingly, because a dispute of material fact
14    exists as to Plaintiff’s FEHA claim, Defendant’s argument is unpersuasive. Accordingly,
15    Defendants’ motion for summary judgment as to Plaintiff’s Eighth Cause of Action for
16    wrongful termination in violation of public policy is denied.
17          8. Plaintiff’s Request for Punitive Damages
18          Defendants seek summary judgment on Plaintiff’s request for punitive damages
19    arguing Plaintiff cannot show “oppression, fraud or malice.” (Defs.’ MSJ at 29).
20          In causes of action for breach of an obligation that does not arise from contract, a
21    plaintiff may seek punitive damages where “it is proven by clear and convincing evidence
22    that the defendant has been guilty of oppression, fraud, or malice.” Cal. Civ. Code
23    § 3294(1). Typically, the question of whether the defendant’s conduct supports an award
24    of punitive damages is left for the trier of fact because “the degree of punishment depends
25    on the peculiar circumstances of each case,” though the issue can be resolved at summary
26    judgment. Johnson & Johnson v. Super. Ct, 192 Cal.App.4th 757, 762 (2011). Summary
27    judgment is only proper on the issue of punitive damages “when no reasonable jury could
28    find the plaintiff’s evidence to be clear and convincing proof of malice, fraud or

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 1    oppression.” Hoch v. Allied-Signal, Inc., 24 Cal.App.4th 48, 60-61 (1994). As some of
 2    Plaintiff’s claims survive, the Court finds it would be premature to dismiss her request for
 3    punitive damages. Accordingly, Defendants’ motion for summary judgment as to punitive
 4    damages is denied.
 5          9. Plaintiff’s Twelfth Cause of Action
 6          Finally, Defendants seek summary judgment on Plaintiff’s claim for unfair business
 7    practices in violation of Business and Professions Code Section 17200 et seq. (Defs.’ MSJ
 8    at 29). Defendants argue Plaintiff’s claim fails for two reasons: (1) Plaintiff’s other claims
 9    fail, leaving no statute upon which to base her twelfth claim, and (2) Plaintiff has lost no
10    money upon which to claim restitution. (Id. at 30). Plaintiff fails to address this claim in
11    her opposition.
12          Business and Professions Code Section 17200 is part of California’s Unfair
13    Competition Law (“UCL”). The UCL prohibits unlawful competition, which it defines as
14    “any unlawful, unfair or fraudulent business act or practice.”           Cal. Bus. & Prof.
15    Code § 17200. The purpose of the UCL is to “protect both consumers and competitors by
16    promoting fair competition in commercial markets for goods and services.” Kasky v. Nike,
17    Inc., 27 Cal.4th 939, 949 (2002). Section 17204 was amended by Proposition 64 in
18    November of 2004 to require that private standing be limited to “any person who has
19    suffered injury in fact and has lost money or property as a result of the unfair competition.”
20                 i.     What constitutes an “unlawful” business act under the UCL
21          Defendants’ first argue that UCL claims must be based on a violation of statute, and
22    all Plaintiff’s statue-based claims should be dismissed on summary judgment. (Defs.’ MSJ
23    at 29). Defendants further argue any remaining common law claims do not satisfy the
24    “unlawful” prong of the UCL. (Id.)
25          Plaintiff’s Fifth and Sixth Causes of Action for failure to provide reasonable
26    accommodation and failure to engage in the interactive process in violation of the FEHA
27    remain. Plaintiff’s accommodation claim is based on California Government Code Section
28    12940(m), which holds it is unlawful employment practice “[f]or an employer … covered

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 1    by this part to fail to make reasonable accommodation for the known physical … disability
 2    of an applicant or employee.” Plaintiff’s Sixth Cause of Action is similarly based in statute.
 3    See 2 Cal. Code Regs. § 11069(a). Therefore, Plaintiff’s UCL claim still incorporates
 4    allegations of unlawful business practice based in statute, satisfying the “unlawful” prong
 5    of the UCL.
 6                  ii.   Plaintiff’s remedies under the UCL
 7          Defendants also argue Plaintiff cannot recover restitution under the UCL because
 8    she has not lost any money to which she can claim ownership. (Defs.’ MSJ at 30). Only
 9    two forms of relief are available under the UCL: restitution and injunctions. Korea Supply
10    Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1144 (2003). Therefore, restitution is the
11    only monetary remedy available in a private suit brought under the UCL. Clark v. Super.
12    Ct., 50 Cal.4th 605, 614. Restitution means the “return of money or other property obtained
13    through an improper means to the person from whom the property was taken.” Id. (citing
14    Kasky, 27 Cal.4th at 950); Korea Supply Co., 29 Cal.4th at 1149 (“The object of restitution
15    is to restore the status quo by returning to the plaintiff funds in which he or she has an
16    ownership interest.”). The typical method of calculating restitution in a UCL case is the
17    difference between price paid and actual value received, though this is not the only
18    measure. See In re Vioxx Class of Cases, 180 Cal.App.4th 116, 131 (2009). However, the
19    plaintiff carries the burden of proving “entitlement to an alternative measure of restitution
20    under all the circumstances.” In re Tobacco Cases II, 240 Cal.App.4th 779, 792 (2015).
21          In her complaint, Plaintiff claims she is “entitled to equitable and injunctive relief,
22    including full restitution, disgorgement, and/or specific performance of payment of all
23    wages that have been unlawfully withheld from Plaintiff, and enjoinment of Defendant[s]
24    to cease and desist from engaging in the practices described [in the Complaint],” with
25    respect to her UCL claim. (Compl. ¶ 144). Plaintiff otherwise fails to address her UCL
26    claim, let alone restitution or injunctive relief, in her submissions. Plaintiff fails to carry
27    her burden in demonstrating restitution for money lost to which she can claim ownership
28    is appropriate under the instant facts. Accordingly, Defendants’ motion for summary

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 1    judgment, with respect to Plaintiff’s Twelfth Cause of Action under the UCL is granted,
 2    and the claim is dismissed.
 3                                    V.    CONCLUSION
 4          Accordingly, IT IS HEREBY ORDERED:
 5          1. Plaintiff’s Motion for Partial Summary Judgment is GRANTED IN PART AND
 6             DENIED IN PART. (ECF No. 40).
 7          2. Defendants’ Motion for Summary Judgment is GRANTED IN PART AND
 8             DENIED IN PART. (ECF No. 41).
 9          3. Plaintiff’s claims for interference in violation of the FMLA, interference in
10             violation of the CFRA, retaliation in violation of the CFRA, disability
11             discrimination in violation of the FEHA, and failure to prevent unlawful
12             discrimination/retaliation are DISMISSED.
13          IT IS SO ORDERED.
14    DATED: March 28, 2024
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16                                               _________________________________
                                                 JOHN A. HOUSTON
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                                                 UNITED STATES DISTRICT JUDGE
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